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    Michael J. Schulz, M.S.
    President/Principal Consultant

    MJ. Schulz & Associates, Inc.                              Telephone - [800] 310-2891
    915 Highland Pointe Drive                                  Cell -(630) 258-9472
    Suite 250                                                  Email - mjschulz@mjschulz.com
    Roseville, California 95678                                www.mjschulz.com




                                      Curriculum Vitae

                                              June 1, 2023




    PROFESSIONAL BACKGROUND


    Currently tasked in Metropolitan Sacramento, MJ. Schulz & Associates, Inc. is an
    internationally known consulting firm focusing on safety, security, and emergency
    management issues with a specialized emphasis in the investigation and analysis of
    hostile fire and explosion incidents.


    As the President and Principal Consultant, he has been in practice for over forty-two
    years   and   has    consulted   in the   United States,   Canada,   Mexico,    Puerto    Rico, and

    Europe. During that forty-two-year professional career, he has served as a civil
    defense officer, municipal law enforcement officer, fire department command officer,
    private consultant, and college professor.

    He holds a Master of Science [M.S.] in Safety, Security and Emergency Management
    from Eastern Kentucky University and a Bachelor of Science (B.SJ in Fire and Safety
    Engineering Technology from the University of Cincinnati. He also holds a certificate
    in Fire Science from the University of Cincinnati.

    He maintains current educational and experiential proficiency as required by
    National Fire Code NFPA 1033, Sections 1.3.7 and 1.3.8, in investigation technology,
    fire protection technology and code requirements and, more specifically, fire science,
    fire chemistry, thermodynamics, thermometry, fire dynamics, explosion dynamics,
    computer      fire    modeling,    fire   investigation,   fire   analysis,    fire    investigation




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methodology, fire investigation technology, hazardous materials and failure analysis
and analytical tools through the professional education and training enumerated
herein.

In addition to his consulting practice, he developed and previously served as the
Program Director for the Master of Arts (M.A.) in Emergency Management Leadership
Graduate Program at Adler University in Chicago, Illinois. Besides his academic
responsibilities, he also previously served as Chairman of the institution's Program
Development Committee, which is responsible for the academic design and approval
process of all new or revised academic programs, concentrations, and tracts. More
recently he was appointed by the institution's President to serve on the Strategic
Planning Committee.

His   specialized emphasis and participation in the field of fire and explosion
investigation and analysis has spanned most of his professional career.

He is a graduate of the United States Fire Administration’s National Fire Academy
(NFA)     in   Emmitsburg,   Maryland,   where    he     completed   the   Fire   and   Arson
Investigation residency program. He later served as a field instructor for the National
Fire Academy delivering the "Fire /Arson Detection” program

He was a charter member of the National Fire Protection Association's (NFPA)
Technical Committee on Fire Investigations having been appointed to the committee
at the time of its formation by the National Fire Protection Association’s Standards
Council. During his seventeen (17) year tenure as a principal member of the technical
committee, he made significant contributions to both the National Fire Code 907M,
entitled Manual for the Determination of Electrical Fire Causes, and the National Fire
Code 921, entitled Guide for Fire and Explosion Investigations. He continued to serve
on the committee as an alternate member for many years thereafter.

He also served as a member of both the International Fire Service Training
Association (IFSTA) Fire Investigator and Fire Origin and Cause Material Review
Committees. The Material Review Committees are responsible for the continuing
review and revision of the Association’s publications, entitled, Fire Investigator and
Fire Origin and Cause.

He has served as a consultant to the federal government, including the Federal
Emergency Management Agency's, United States Fire Administration's National Fire
Academy, state governments and local governments. Recently, he was retained as an
expert in the field of fire and explosion investigation and analysis by the Illinois
Attorney General's Office and the Illinois State Fire Marshal's Office in federal
litigation to which the State of Illinois was a party.

He was selected as an instructor for the Canadian Province of Ontario’s Technical
Standards and Safety Authority (TSSA) and previously be the U.S Consumer Product
Safety Commission (CPSC) to provide training to the Commission’s product safety
field investigation staff.




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He has particular expertise in the forensic investigation and analysis of motor vehicle
fires of all types including post-collision motor vehicle fire incidents. Throughout his
career, has endeavored to enhance his professional education, knowledge and
investigative skills through various academic achievements including, but not limited
to the following:

       ©   Certified Vehicle Fire Investigator (CFVI)
           National Certification Board
           National Association of Fire Investigators


           Fire Investigation for Fire Officers Multi-Program with Concentration in
           Motor Vehicles
           International Association of Arson Investigators and CFITrainer.net


           Traffic Accident Investigation
           Northwestern University Traffic Institute


       ©   Instructor - Motor Vehicle Fire Investigation
           National Certification Board
           National Association of Fire Investigators

           Instructor - Motor Vehicle Fire Investigation
           National Fire Protection Association


Given his keen understanding of fire behavior and fire dynamics, he has also often
been asked to consult on the investigation and analysis of major wildland fire
incidents. Those historical wildland fire incidents included:

   ©   Chariot Fire, San Diego County, California, July 2013
       Witch Creek Fire, San Diego County, California, November 2017


More recently, he was retained by the Plaintiffs' Steering Committee [PSC] overseeing
the comprehensive North Bay Wildland Fires litigation in Northern California which
was comprised of a number of different wildland fire incidents. At the time of
settlement of that litigation, he was actively assisting in the development of
demonstrative trial exhibits to be utilized in the Tubbs Fire civil trial as part of that
assignment. Those incidents included:


       Wall Fire, Butte County, California, July 2017
   ©   Tubbs Fire, Napa/Sonoma County, California, October 2017
       Redwood Valley Fire, Mendocino County, California, October 2017
   ©
       Atlas Fire, Napa County, California, October 2017
       Sulphur Fire, Lake County, California, October 2017
       Cascade Fire, Yuba County, California October 2017
   ©
       Cherokee Fire, Butte County, California, October 2017
   ©   Patrick Fire, Napa County, California, October 2017



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       Nuns Fire, Napa County, California, October 2017
       LaPorte Fire, Butte County, California, October 2017
       Lobo Fire, Butte County, California, October 2017
       McCourtney Fire, Butte County, California, October 2017
       Honey Fire, Butte County, California, October 2017
       Pocket Fire, Sonoma County, California, October 2017
   ©   Pythian Fire, Sonoma County, California, October 2017
   ©   37 Fire, Sonoma County, California, October 2017
       Camp Fire, Butte County, California, November 2018


Most recently, he was retained by a consortium of multiple clients to also consult on
the investigation and analysis of a series of wildland fire incidents and associated
debris flows which occurred in California, Oregon, and Washington in recent years.
Those incidents include:

       Mission Fire/Madera County, California, September 2017
       Thomas Fire, Ventura County, California, December 2017
   ©   Koenigstein Fire, Ventura County, California, December 2017
       Creek Fire, Los Angeles County, California, December 2017
   ©   Holiday Fire, Santa Barbara County, California, July 2018
       Woolsey Fire, Ventura County, California, October 2018
   ©   Getty Fire, Los Angeles County, California, October 2019
       Kincade Fire, Sonoma County, California, October 2019
   ©   Beachie Creek Fire, Marion County, Oregon, August 2020
   ©   South Oberchain Fire, Jackson County, Oregon, September 2020
       Two-Four Two Fire, Lake County, Oregon, September 2020
       Santiam Canyon Fire, Marion County, Oregon, September 2020
   ©   Whitney Fire, Lincoln County, Washington, September 2020
   ©   Glass Fire, Napa County, California, September 2020
   ©   Zogg Fire, Shasta County, California, September 2020
       Archie Creek Fire, Douglas County, Oregon, September 2020

       Bobcat Fire, Los Angeles County, California, September 2020
   ©
       Slater Fire, Siskiyou County, California, October 2020
       Silverado Fire, Orange County, California. October 2020
   ©   Pope Fire, Napa County, California, October 2020
       Calwood Fire, Boulder County, Colorado, October 2020
       Laura 2 Fire, Lassen County, California, November 2020
   ©   Pinehaven Fire, Washoe County, Nevada, November 2020
   ©   Mountain View Fire, Mono County, California, November 2020
       Echo Mountain Fire, Lincoln County, December 2020.
   ©   Creek Fire, San Diego County, California, December 2020
       Cerritos Fire, Riverside County, California, December 2020
   ©
       Bonita Fire, Riverside County, California, January 2021
   ©   Dixie Fire, Butte County, California, July 2021




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         Fly Fire, Plumas County, California, July 2021
   ®     Caldor Fire, El Dorado, California, August 2021
         West Wind Fire, Judith Basin County, Oregon, November 2021
         Coastal Fire, Orange County, California, May 2022
         McKinney Fire, Siskiyou County, Oregon, July 2022
         Mosquito Fire, Placer County, California, September 2022
   ©
         Mill Fire, Siskiyou County, California, September 2022
         Fairview Fire, Riverside County, September 2022


He holds national registration as a National Board Certified Fire and Explosion
Investigator (CFEI), a National Board Certified Vehicle Fire Investigator (CVFI) and a
National Board Certified Fire Investigation Instructor (CFII) through the National
Association of Fire Investigators’ National        Certification Board.    He also holds
international registration as a Certified Canadian Fire Investigator (CCFI) through the
Canadian Association of Fire Investigators' National Certification Committee. He also
holds national registration as a Certified Fire Protection Specialist (CFPS) through the
National Fire Protection Association and the Certified Fire Protection Specialist
Board.


His professional affiliations include the National Fire Protection Association (NFPA),
the American Society of Safety Engineers (ASSE), the National Fire Academy Alumni
Association (NFAAA), the National Association of Fire Investigators (NAFI), the
International Association of Arson Investigators (IAAI), the Illinois Chapter of
International Association of Arson Investigators (IL-IAAI), the California Conference
of Arson Investigators (CCAI), the Canadian Association of Fire Investigators (CAFI),
the Society of Fire Protection Engineers (SFPE), the American Society for Testing and
Materials (ASTM), the Society of Automotive Engineers (SAE) and the American Radio
Relay League (ARRL).


His academic affiliations include the Phi Kappa Phi Honors Society, the University of
Cincinnati   Alumni    Association,   and   the   Eastern   Kentucky   University   Alumni
Association.




FORMAL EDUCATION


         Eastern Kentucky University, Richmond, KY
         Master of Science (M.S.) in Safety, Security and Emergency Management
         Honors: 4.0 Cumulative GPA
         December 2012




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    University of Cincinnati, Cincinnati, OH
     Bachelor of Science (B.S.) in Fire and Safety Engineering Technology
     Honors: Magna cum Laude 3.86 Cumulative GPA
    June 1996


    University of Cincinnati, Cincinnati, OH
     Certificate in Fire Science
    United States Fire Administration Open Learning Fire Service Program
    June 1996




PROFESSIONAL EXPERIENCE

    MJ. Schulz & Associates, Inc., Roseville, CA
    President - Principal Consultant
    Private Consulting Firm
    2000 - Present


    Adler University, Chicago, Illinois
    Professor/Program Director
    Emergency Management Leadership Program
    2013-2016


            Foundations of Emergency Management (EML 500)


            Law and Politics of Emergency Management (EML 501)


            Supporting Functional Needs Populations in Disasters (EML 502)


            Disaster Response, Recovery and Continuity (EML 503)


            Psychology of Terrorism (EML 504)


            Leading in Times of Disaster (EML 505)


            Essentials of Effective Communication (EML 506)


            Research Methods for Leaders in Emergency Management (EML 507)


            Group, Organization and System Development (EML 508)


            Private Sector Emergency Management Strategies (EML 509)


            Disaster Mental and Behavioral Health Applications in Emergency
            Management (EML 510)




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            Emerging Issues in Emergency Management and Homeland Security
            (EML 511]


            Capstone Project (EML 512]


     Adler University, Chicago, Illinois
     Professor
     Police Psychology Program


            Psychology of Leadership (MAP 757]


     DuPage County Amateur Radio Emergency Service, Wayne, Illinois
     Emergency Coordinator
     Auxiliary Emergency Communications Team


     William Rainey Harper Community College, Palatine, Illinois
     Adjunct Instructor
     Fire Science Program


            Principles of Fire Prevention IV


     SCS Research Group, Rolling Meadows, Illinois
     Consultant
     Private Consulting Firm
     2000-2000


     John A. Kennedy & Associates, Inc., Hoffman Estates, Illinois
     Senior Staff Expert
     Private Consulting Firm
     1990-2000


     Cedarburg Police Department, Cedarburg, Wisconsin
     Municipal Police Officer
     Municipal Police Department
     1979- 1990


     Cedarburg Fire Department, Cedarburg, Wisconsin
     Captain - Fire Prevention Company
     Municipal Fire Department
     1981- 1990


    Milwaukee Area Technical College, Milwaukee, Wisconsin
    Adjunct Instructor
    Fire Science Program


            Fire Investigation



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     Milwaukee Area Technical College, Milwaukee, Wisconsin
    Adjunct Instructor
     Police Science Program


            Arson Investigation




PROFESSIONAL CERTIFICATES

     University of Cincinnati, Cincinnati, OH
     Certificate in Fire Science
     United States Fire Administration Open Learning Fire Service Program
     June 1996


     Principles of Fire Investigation Multi-Program
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Fire Investigation for Fire Officers Multi-Program with Concentration in
     Motor Vehicles
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Fire Investigation for Fire Officers Multi-Program with Concentration in
     Youth Set Fires
     International Association of Arson Investigators and CFITrainer.net
     December 2019




CURRENT PROFESSIONAL CERTIFICATIONS/DESIGNATIONS

     Certified Fire Protection Specialist [CFPS]
     Certified Fire Protection Specialist Board
     National Fire Protection Association


     Certified Fire and Explosion Investigator (CFEI)
     National Certification Board
     National Association of Fire Investigators


     Certified Vehicle Fire Investigator (CFVF)
     National Certification Board
     National Association of Fire Investigators




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      Certified Fire Investigation Instructor (CFII)
      National Certification Board
      National Association of Fire Investigators


      Canadian Certified Fire Investigator (CCFI)
      National Certification Committee
      Canadian Association of Fire Investigators


      Professional Development Series Certification (PDS)
      Illinois Emergency Management Agency


     Communications Unit Leader (COML)
     Department of Homeland Security
     Federal Emergency Management Agency/Office of Emergency
     Communications


     Auxiliary Emergency Communicator (AEC)
     Department of Homeland Security
     Federal Emergency Management Agency/Office of Emergency
     Communications




PREVIOUS PROFESSIONAL CERTIFICATIONS/DESIGNATIONS

     Certified Fire Service Instructor II
     Board of Vocational, Technical and Adult Education
     State of Wisconsin


     Certified Fire Service Instructor I
     Board of Vocational, Technical and Adult Education
     State of Wisconsin

     Certified Emcomm Field Instructor (FI)
     Continuing Education Program
     American Radio Relay League


     Certified Emcomm Field Examiner (FE)
     Continuing Education Program
     American Radio Relay League




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PROFESSIONAL BUSINESS LICENSURES

     Registered Class 1 Private Detective Agency
     License Number 117001067
     Department of Financial and Professional Regulation
     State of Illinois


     Registered Class A Private Detective
     License Number 115-001562
     Department of Financial and Professional Regulation
     State of Illinois

     Registered Permanent Employee
     Registration Card Number 129-117390
     Department of Financial and Professional Regulation
     State of Illinois


     Class A Investigation Company
     License Number A 10054
     Department of Public Safety
     State of Texas


     Owner
     License Number A 10054
     Department of Public Safety
     State of Texas




EMERGENCY MEDICAL CERTIFICATIONS

     Adult First Aid/CPR/AED
     American Red Cross



PROFESSIONAL COMMUNICATIONS LICENSURE

     Federal Communications Commission, Washington, D.C.
     Amateur Extra Class: Call Sign - W9MJS
     FRN 0009322181


     Federal Communications Commission, Washington, D.C.
     GMRS: Call Sign-WQIR430
     FRN 0009322181




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NATIONAL FIRE ACADEMY GRADUATE

     Fire and Arson Investigation, Emmitsburg, Maryland
     United States Fire Administration
     Residency Program


     Selection, acceptance, and an invitation to the National Fire Academy is
     achieved by an evaluation of qualifications, training, and experience and by the
     successful completion of a comprehensive nomination and application
     process.   His   nomination   was   submitted   and   endorsed   by   both   the
     municipal police department and municipal fire department in the jurisdiction
     in which he served following his graduation. He was one of a limited number
     of municipal law enforcement officers from his state to have been selected
     and invited to attend.




NATIONAL FIRE ACADEMY FIELD PROGRAM

     Fire/Arson Detection, Emmitsburg, Maryland
     United States Fire Administration
     Train-the-Trainer Program


     Having completed the requisite Train-the-Trainer coursework, he has served
     as a field instructor for the National Fire Academy's Field Program entitled,
     "Fire/Arson Detection.” In that capacity, he has trained hundreds of law
     enforcement and fire service personnel.



CONSULTANT TO FEDERAL EMERGENCY MANAGEMENT AGENCY


     United States Fire Administration, Emmitsburg, Maryland
     Arson Prevention Act of 1994 Working Group
     Content Expert


     He was contracted to serve as a training course Content Expert directing and
     overseeing the revision of current federal fire investigation training programs
     administered by the United States Fire Administration’s National Fire
     Academy, as well as the development of a new federal fire investigation
     training program as part of the mandates by the United States Congress under
     the Arson Prevention Act of 1994. In that capacity, he was selected to serve as
     a chairman of one of the two working task groups.




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     United States Fire Administration, Emmitsburg, Maryland
     National Symposium for Arson Prevention and Control
     Delegate


     He was also selected as one of only sixty delegates from across the nation to
     the United States Fire Administration and National Fire Academy's National
     Symposium for Arson Prevention and Control, held in Emmitsburg, Maryland
     in July 1995. The symposium serves to advise the United States Fire
     Administration and its National Fire Academy on the goals and objectives of
     their respective arson prevention and control programs.




CODES AND STANDARDS DEVELOPMENT PROCESS PARTICIPANT


     Technical Committee on Fire Investigators
     National Fire Protection Association
     Principal Committee Member


     Fire Origin and Cause Material Review Committee
     International Fire Service Training Association
     Principal Committee Member


     Fire Investigator Material Review Committee
     International Fire Service Training Association
     Principal Committee Member


     Technical Committee on Fire Investigations
     National Fire Protection Association
     Alternate Committee Member


     He   has   extensive   knowledge   in   the   development,   interpretation   and
     application of laws, codes, standards, and recommended practices that focus
     on issues arising from the investigation and analysis of fires and explosions.

     During his tenure with the fire service, he was responsible for supervising a
     municipal fire department's code development, fire inspection and code
     enforcement activities.   He was also assigned to a mayoral task group that
     developed and implemented a revised municipal fire prevention code. During
     that assignment, he authored many portions of that new fire prevention code.

     His involvement in the codes and standards making process provides him with
     a unique and specialized insight into the development, interpretation and
     application of such laws, codes, standards, and recommended practices.




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      His professional training, education and experience include, but is not
      limited to, the interpretation and application of such codes and standards as
     the following:


          National Fire Protection Association (NFPA)
          American National Standards Institute (ANSI)
      ©
          International Code Council (ICC)
          Building Officials and Code Administrators International (BOCA)
          Southern Building Code Congress International (SBCCI)
     ©
          International Code and Buildings Officials (ICBO)
          American Insurance Institute (AIA)
          American Society for Testing and Materials (ASTM)
     ©    Underwriter's Laboratories, Incorporated (UL)
          Canadian Standards Association (CSA)
          National Institute of Standards and Technology (NIST)
          Code of Federal Regulations (CFR)
     ©    Occupational Safety and Health Administration (OSHA)
     ©
          Department of Transportation (DOT)
     ©    Consumer Products Safety Commission (CPSC)
     ©    Airline Transport Association (ATA)



CONTINUING LAW ENFORCEMENT EDUCATION

     Wisconsin Certified Law Enforcement Officer Training
     State of Wisconsin, Department of Justice, Training and Standards Board
     March 1979


     Death Investigation
     State of Wisconsin, Department of Justice, Division of Criminal Investigation
     September 1979


     Police In-Service Recertification
     Milwaukee Area Technical College
     1980


     Police In-Service Recertification
     Milwaukee Area Technical College
     1981


     Police In-Service Recertification
     Milwaukee Area Technical College
     1982




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     Police In-Service Recertification
     Milwaukee Area Technical College
     1983


     Police In-Service Recertification
     Milwaukee Area Technical College
     1984


     Effective Use of Photography as Legal Evidence
     University of Wisconsin, Department of Engineering and Applied Science
     May 1985


     Police In-Service Recertification
     Milwaukee Area Technical College
     1985


     Police In-Service Recertification
     Milwaukee Area Technical College
     1986


     Police In-Service Recertification
     Milwaukee Area Technical College
     1987


     Police In-Service Recertification
     Milwaukee Area Technical College
     1988


     Police In-Service Recertification
     Milwaukee Area Technical College
     1989


     Traffic Accident Investigation
     Northwestern University Traffic Institute
     September 2000




CONTINUING FIRE SERVICE EDUCATION


     Crash Injury Management Technician
     Waukesha Area Technical College
     March 1979




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      Basic Course on Handling Hazardous Materials Emergency Incidents
      State of Wisconsin, Board of Vocational, Technical and Adult Education
      February 1981


      Basic Fire Fighting (Firefighter I]
      Milwaukee Area Technical College
      December 1981


      Emergency Medical Technician Certification
      Emergency Medical Technician Training Consortium
      February 1982


      Advanced Fire Fighting (Firefighter II]
      Milwaukee Area Technical College
      March 1982


      Search and Rescue
      International Society of Fire Service Instructors
      September 1982


      Fire Ground Commander
      National Fire Protection Association
      October 1982


      Operating Fire Department Apparatus
      Milwaukee Area Technical College
     April 1983


     EMS Communications
     Moraine Park Technical Institute
     August 1983


     Company Officer Leadership
     Association of Ozaukee County Fire Departments
     March 1984


     Certified Fire Inspector Training
     State of Wisconsin, Department of Industry, Labor, and Human Relations
     March 1986


     Fire Department Instructors Conference
     International Association of Fire Service Instructors
     March 1991




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     Fire Case Studies Symposium: Office High-Rise Fire Safety
     National Fire Protection Association, Montreal
     November 1991


     Fire Codes and Standards Forum
     Fire Marshal's Association of North America
     November 1991


     Fire Department Instructors Conference
     International Society of Fire Service Instructors
     April 1992




CONTINUING FIRE AND EXPLOSION INVESTIGATION AND ANALYSIS
EDUCATION


     15th Annual Wisconsin Arson Training Seminar
     State of Wisconsin, Department of Justice, Division of Criminal Investigation,
     and the Wisconsin Chapter of the International Association of Arson
     Investigators
     June 1980


     Arson Investigation
     American Policy Academy
     January 1981


     Automobile Fire Investigation
     Badger Firemen's Association
     March 1981


     Fire/Arson Detection
     United States Fire Administration's National Fire Academy Field Program
     May 1982


     17th Annual Wisconsin Arson Training Seminar
     State of Wisconsin, Department of Justice, Division of Criminal Investigation,
     and the Wisconsin Chapter of the International Association of Arson
     Investigators
     June 1982


     Fire and Arson Investigation
     Milwaukee Area Technical College
     April 1983




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      18th Annual Wisconsin Arson Training Seminar
      State of Wisconsin, Department of Justice, Division of Criminal Investigation,
      and the Wisconsin Chapter of the International Association of Arson
      Investigators
      June 1983


      Arson Investigation
      Milwaukee Area Technical College
      February 1984


      35th Annual I.A.A.I. Training Conference
      International Association of Arson Investigators, Clearwater Beach
      April 1984


      Arson Investigation
      Hillsborough Community College
      April 1984


      Fire/Arson Detection
      Wisconsin Board of Vocational, Technical and Adult Education
      May 1984


      19th Annual Wisconsin Arson Training Seminar
     State of Wisconsin, Department of Justice, Division of Criminal Investigation,
     and the Wisconsin Chapter of the International Association of Arson
      Investigators
     June 1985


     Fire Investigation
     Milwaukee Area Technical College
     September 1984

     20th Annual Wisconsin Arson Training Seminar
     State of Wisconsin, Department of Justice, Division of Criminal Investigation,
     and the Wisconsin Chapter of the International Association of Arson
     Investigators
     June 1985


     Determining the Cause and Origin of Fires and Explosions
     National Association of Fire Investigators
     August 1985


     Fire and Arson Investigation
     United States Fire Administration's National Fire Academy
     June 1986




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      21st Annual Wisconsin Arson Training Seminar
      State of Wisconsin, Department of Justice, Division of Criminal Investigation,
      and the Wisconsin Chapter of the International Association of Arson
      Investigators
      June 1986


      Determining the Cause and Origin of Fires and Explosions
      National Association of Fire Investigators
      August 1986


      22nd Annual Wisconsin Arson Training Seminar
      State of Wisconsin, Department of Justice, Division of Criminal Investigation,
      and the Wisconsin Chapter of the International Association of Arson
      Investigators
      June 1987


      Determining the Cause and Origin of Fires and Explosions
      National Association of Fire Investigators, Chicago
      August 1987


      Determining the Cause and Origin of Fires and Explosions
      National Association of Fire Investigators
      September 1988


      Arson-For-Profit Investigative Techniques Seminar
      United States Department of the Treasury, Bureau of Alcohol, Tobacco, and
      Firearms
      January 1989


      National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
     August 1989


      National Conference on Fire Investigation Instruction
     National Association of Fire Investigator
     January 1990


     Fire Investigation Course for Professional Development
     Eastern Kentucky University
     March 1990


     Fire Investigation Training Seminar
     University of Southern Mississippi
     June 1990




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      National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      August 1990


      Fire Litigation and Explosion Investigation Training Seminar
      HMR Fire Technology Institute
      September 1990


      1st Annual Fire and Explosion Investigation Training Program
      Sacramento County Fire Investigation Unit
      November 1990


      Fire Investigation Course for Professional Development
      Eastern Kentucky University
      April 1991


      National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      August 1991


      Fire Investigation and Analysis
      Fire Science and Technology Educators Section Program
      National Fire Protection Association
      November 1991


      Advanced Fire Scene Analysis
      National Fire Protection Association
      February 1992


      Fire Investigation Course for Professional Development
      Eastern Kentucky University
      March 1992


      Human Behavior Task Group Meeting
      National Fire Protection Association
     April 1992


      Mathematical Computer Fire Modeling, Special Tutoring Program
      National Institute of Standards and Technology
     June 1992


      National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
     August 1992




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     FPETool and Hazard I User's Conference
     National Institute of Standards and Technology
     October 1992


     Fire Investigation and Analysis
     National Fire Protection Association
     Fire Science and Technology Educator's Section
     November 1992


     Fire Investigation Course for Professional Development
     Eastern Kentucky University
     March 1993


     Conference on Community College Fire Science and Technology Core
     Curriculum
     National Fire Protection Association
     September 1993


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     August 1993


     Fire Investigation Course for Professional Development
     Eastern Kentucky University
     March 1994


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     August 1994


     Rocky Mountain Fire, Arson, and Explosion Investigation Training Program
     Aurora Fire Department
     January 1995


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     August 1995


     Washington State Chapter of the International Association of Arson
     Investigators' Annual Training Seminar
     September 1995


     Colorado Association of Property and Evidence Technicians' Annual Training
     Seminar
     September 1995




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      Canadian National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      October 1995


      Fire Science and Technology Educators’ Section Program
      National Fire Protection Association
      November 1995


      Eastern Kentucky University's National Advanced Fire, Arson, and Explosion
      Investigation Training Program
      National Association of Fire Investigators
      March 1996


      National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      August 1996


      Eastern Kentucky University’s National Advanced Fire, Arson, and Explosion
      Investigation Training Program
      National Association of Fire Investigators
      March 1997


      National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      July 1997


      Texas Fire, Arson, and Explosion Investigation Training Symposium
      Missouri City Fire Department and Texas A & M University
      September 1997


      National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      July 1998


      Texas Fire, Arson, and Explosion Investigation Training Symposium
      Missouri City Fire Department and Texas A & M University
      August 1998


      Investigation of Motor Vehicle Fires
      Lee S. Cole & Associates, Incorporated
      November 1998


      Canadian National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      November 1998




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     National Seminar on Fire Analysis Litigation
     National Association of Fire Investigators
    January 1999


     Eastern Kentucky University's National Advanced Fire, Arson, and Explosion
     Investigation Training Program
     National Association of Fire Investigators
    April 1999


     Florida Fire & Explosion Investigation Symposium
     National Association of Fire Investigators
     July 1999


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
    August 1999


     Canadian National Fire, Arson, and Explosion Investigation Training
     Program
     National Association of Fire Investigators
     November 1999


     National Seminar on Fire Analysis Litigation
     National Association of Fire Investigators
     January 2000


     Canadian National Fire, Arson, and Explosion Investigation Training
     Program
     National Association of Fire Investigators
     November 2000


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     August 2001


     Canadian National Fire, Arson, and Explosion Investigation Training
     Program
     National Association of Fire Investigators
     October 2001


     Eastern Kentucky University’s National Advanced Fire, Arson, and Explosion
     Investigation Training Program
     National Association of Arson Investigators
     April 2002




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      National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
     August 2002


      National Seminar on Fire Analysis Litigation
      National Association of Fire Investigators
     January 2002


     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     September 2002


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2002


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     August 2003


     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     October 2003


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2003


     Eastern Kentucky University's National Advanced Fire, Arson, and Explosion
     Investigation Training Program
     National Association of Fire Investigators
     March 2004


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     August 2004


     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     September 2004




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     Canadian National Fire, Arson, and Explosion Investigation Training
     Program
     National Association of Fire Investigators
     October 2004


     Eastern Kentucky University's National Advanced Fire, Arson, and Explosion
     Investigation Training Program
     National Association of Fire Investigators
     March 2005


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     August 2005


     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     September 2005


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2005


     Eastern Kentucky University's National Advanced Fire, Arson, and Explosion
     Investigation Training Program
     National Association of Fire Investigators
     March 2006


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     August 2006


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2006


     Investigating Motor Vehicle Fires
     International Association of Arson Investigators and CFITrainer.net
     November 2006


     Digital Photography and the Fire Investigator
     International Association of Arson Investigators and CFITrainer.net
     November 2006




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     Ethics and the Fire Investigator
     International Association of Arson Investigators and CFITrainer.net
     November 2006


     Fire Investigator Scene Safety
     International Association of Arson Investigators and CFITrainer.net
     November 2006


     Fire Dynamics Calculations
     International Association of Arson Investigators and CFITrainer.net
     December 2006


     Insurance and the Fire Investigation
     International Association of Arson Investigators and CFITrainer.net
     January 2007


     An Analysis of the Station Nightclub Fire
     International Association of Arson Investigators and CFITrainer.net
     January 2007


     The Scientific Method for Fire and Explosion Investigation
     International Association of Arson Investigators and CFITrainer.net
     January 2007


     MagneTek: A Case Study in the Daubert Challenge
     International Association of Arson Investigators and CFITrainer.net
     February 2007


     Eastern Kentucky University's National Advanced Fire, Arson, and Explosion
     Investigation Training Program
     National Association of Fire Investigators
     March 2007


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     August 2007


     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     September 2007


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2007




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     Introduction to Evidence
     International Association of Arson Investigators and CFITrainer.net
     December 2007


     Critical Thinking Solves Cases
     International Association of Arson Investigators and CFITrainer.net
     December 2007


     Introduction to Fire Dynamics and Modeling
     International Association of Arson Investigators and CFITrainer.net
     December 2007


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     March 2008


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2008


     Saudi Aramco Fire, Arson and Explosion Investigation Training Program
     Trace Fire Safety Consultants and the National Association of Fire
     Investigators
     November 2008


     Fire and Explosion Investigations: Utilizing NFPA 1033 and 921
     International Association of Arson Investigators and CFITrainer.net
     February 2009


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     March 2009


     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     September 2009


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2009


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     March 2010




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      Saudi Aramco Fire, Arson, and Explosion Investigation Training Program
      Trace Fire Safety Consultants and the National Association of Fire
      Investigators
      August 2010


      Canadian National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      October 2010


      Residential Electricity for Fire Investigators
      Fire Findings Laboratories
     April 2011


     Dust Explosion Hazards
     National Fire Protection Association
     May 2011


     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     September 2011


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2011


     Northern Zone Fire Investigation Seminar
     Illinois Chapter of the International Association of Arson Investigators
     January 2012


     Writing the Initial Origin and Cause Report
     International Association of Arson Investigators and CFITrainer.net
     July 2012


     The Fire Investigator and the 2011 NFPA 921 Changes
     International Association of Arson Investigators and CFITrainer.net
     July 2012


     How First Responders Impact the Fire Investigation
     International Association of Arson Investigators and CFITrainer.net
     July 2012


     Effective Investigation and Testimony
     International Association of Arson Investigators and CFITrainer.net
     July 2012




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     Wildland Fire Investigations
     International Association of Arson Investigators and CFITrainer.net
     July 2012


     Explosion Dynamics
     International Association of Arson Investigators and CFITrainer.net
     August 2012


     Search and Seizure
     International Association of Arson Investigators and CFITrainer.net
     August 2012


     The Practical Application of the Relationship between NFPA 1033 and NFPA
     921
     International Association of Arson Investigators and CFITrainer.net
     August 2012


     29th Annual Fire Investigation Training Conference
     Illinois Chapter of the International Association of Arson Investigators
     September 2012


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2012


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2013


     Technical Standards and Safety Administration Fire Investigation Seminar
     Trace Fire & Safety
     September 2014


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2014


     Understanding Your Role in Fire Data
     National Association of State Fire Marshals Foundation
     November 2014


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     October 2015




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     Introduction to Fire Behavior (Wildland)
     World of Wildland Fire
     Northern Arizona University and the Wildland Fire Education and Training
     Collaborative (WETC)
     January 2016


     Next Generation for Advanced Wildland Fire Training - An Introduction
     Southern Fire Exchange
     March 2017


     The Ecology of Fuels (Wildland)
     Southern Fire Exchange
     May 2017


     Wildfire Hazard and Risk Assessment
     UN Office for Disaster Risk Reduction
     November 2017


     Vacant and Abandoned Buildings: Hazards and Solutions
     International Association of Arson Investigators and CFITrainer.net
     February 2018


     Accreditation, Certification and Certificates
     International Association of Arson Investigators and CFITrainer.net
     February, 2018


     Understanding the Fire Investigator's Job: A Guide for Non-Investigators
     International Association of Arson Investigators and CFITrainer.net
     February 2018


     Physical Evidence at the Fire Scene
     International Association of Arson Investigators and CFITrainer.net
     February 2018


     Documenting the Event
     International Association of Arson Investigators and CFITrainer.net
     February 2018


     The Importance of Electronic Evidence in Fire Cases
     International Association of Arson Investigators and CFITrainer.net
     February 2018


     Motive, Means and Opportunity: Determining Responsibility in an Arson Case
     International Association of Arson Investigators and CFITrainer.net
     February 2018




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     Using Resources to Validate Your Hypothesis
     International Association of Arson Investigators and CFITrainer.net
     February 2018


     Wildfire Management: A Look at the Thomas Fire
     American Geosciences Institute
     May 2018


     Engineering Tools for Wildland Fire Investigation: Fire Pattern Indicators to
     Power Line Ignition and Safety
     International Association of Arson Investigators
     May 2018


     Wildland Fire Scene Origin & Cause Investigation Methodology
     International Association of Arson Investigators
     May 2018


     Wildland Fire Scene Ignition Factors & Sources
     International Association of Arson Investigators
     May 2018


     An Analysis of Powerline Causation Issues in the Wildland Fire Investigation
     Context
     International Association of Arson Investigators
     May 2018


     Full Community Costs of Wildfire
     Southwest Fire Science
     September 2018


     Burning Piles: Effects of Pile age, Moisture, Mass and Composition on Fire
     Effects, Consumption and Decomposition
     Forest Stewards Guild
     January 2019


     Utah Chapter IAAI Annual Training Seminar
     Utah Chapter of the International Association of Arson Investigators
     February 2019


     Smoke, Roads, and Safety
     RT-130 Wildland Fire Safety Training Annual Refresher (WFSTAR)
     National Wildfire Coordinating Group
     March 2019




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     2018 Wildfire Summary
     RT-130 Wildland Fire Safety Training Annual Refresher (WFSTAR)
     National Wildfire Coordinating Group
     April 2019


     Wildfire Catastrophe Modeling
     ICCR
     April 2019


     Watchout Situations
     RT-130 Wildland Fire Safety Training Annual Refresher (WFSTAR)
     National Wildfire Coordinating Group
     April 2019


     LCES (Lookouts, Communications, Escape Routes, and Safety Zones
     RT-130 Wildland Fire Safety Training Annual Refresher (WFSTAR)
     National Wildfire Coordinating Group
     April 2019

     Standard Firefighting Orders
     RT-130 Wildland Fire Safety Training Annual Refresher (WFSTAR)
     National Wildfire Coordinating Group
     April 2019

     Camp Fire Field Tour
     California Board of Forestry and Fire Protection
     August 2019


     Fuel Explosions - Am Overview of Natural Gas and Propane Systems and
     How They Are Related to Fire Causes
     Canadian Association of Fire Investigators
     September 2019



     Charting Your Career Path in Fire Investigation
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Fire Flow Analysis
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Understanding Undetermined
     International Association of Arson Investigators and CFITrainer.net
     December 2019




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     Introduction to Youth-Set Fires
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Legal Aspects of Investigating Youth-Set Fires
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Motor Vehicles: The Engine and the Ignition, Electrical Systems, and Fuel
     Systems
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Motor Vehicles: Transmission, Exhaust, Brake and Accessory Systems
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Fire Investigation for Fire Officers
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Fundamentals of Interviewing
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     NFPA 1033 and Your Career
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Critical Evaluation and Testing of Commonly Reported Accidental Causes
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Residential Electrical Systems
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Residential Natural Gas Systems
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Fire Chemistry
     International Association of Arson Investigators and CFITrainer.net
     December 2019




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     Principles of Fire Investigation Multi- Program
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Fire Investigation for Fire Officers Multi-Program with Concentration in
     Motor Vehicles
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Fire Investigation for Fire Officers Multi-Program with Concentration in
     Youth Set Fires
     International Association of Arson Investigators and CFITrainer.net
     December 2019


     Barn Fires - Causes and Methods on Investigating
     Canadian Association of Fire Investigators
     December 2019


     Wildfires
     National Center for Disaster Medicine and Public Health
     January 2020


     Undetermined Cause is the Beginning, Not the End
     Envista Forensics
     January 2020


     Discovery in Civil Cases
     International Association of Arson Investigators and CFITrainer.net
     January 2020


     Investigating Natural Gas Systems
     International Association of Arson Investigators and CFITrainer.net
     January 2020


     What the Insurance Professional Needs to Know About Fire Investigation
     International Association of Arson Investigators and CFITrainer.net
     January 2020


     Discovery in Criminal Cases
     International Association of Arson Investigators and CFITrainer.net
     January 2020


     The Deposition Part 1: Format, Content, and Preparation
     International Association of Arson Investigators and CFITrainer.net
     January 2020




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     The Deposition Part 2: Questioning Tactics and Effective Reponses
     International Association of Arson Investigators and CFITrainer.net
     January 2020


     NFPA 921 and 1033 2014 Editions: Important Revisions
     International Association of Arson Investigators and CFITrainer.net
     January 2020


     Ethics and Social Media
     International Association of Arson Investigators and CFITrainer.net
     January 2020


     Introduction to Appliances
     International Association of Arson Investigators and CFITrainer.net
     January 2020


     Electrical Safety
     International Association of Arson Investigators and CFITrainer.net
     January 2020


     North Bay Wildfires: Lessons from the Most Destructive Fires in California
     History
     International Public Safety Association
     January 2020


     2019 Hot Topics Fall Webinar
     National Wildfire Coordinating Group
     February 2020


     Fire Protection Systems
     International Association of Arson Investigators and CFITrainer.net
     March 2020


     Evidence Examination: What Happens at the Lab?
     International Association of Arson Investigators and CFITrainer.net
     March 2020


     DNA
     International Association of Arson Investigators and CFITrainer.net
     March 2020


     Investigating Fire and Explosion Incidents Involving a Line-Of-Duty Death
     International Association of Arson Investigators and CFITrainer.net
     April 2020




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     Process of Elimination
     International Association of Arson Investigators and CFITrainer.net
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     Ethical Duties Beyond the Fire Scene
     International Association of Arson Investigators and CFITrainer.net
    April 2020


     Charleston Sofa Super Store Fire
     International Association of Arson Investigators and CFITrainer.net
     April 2020


     Fundamentals of Residential Building Construction
     International Association of Arson Investigators and CFITrainer.net
     April 2020


     Arc Mapping Basics
     International Association of Arson Investigators and CFITrainer.net
     April 2020


     Managing Complex Fire Scene Investigations
     International Association of Arson Investigators and CFITrainer.net
     April 2020


     Investigating Fatal Fires
     International Association of Arson Investigators and CFITrainer.net
     April 2020


     Post-Flashover Fires
     International Association of Arson Investigators and CFITrainer.net
     April 2020

     The HAZWOPER Standard
     International Association of Arson Investigators and CFITrainer.net
     April 2020


     The Impact of Ventilation in Building Structures on Fire Development
     International Association of Arson Investigators and CFITrainer.net
     April 2020


     Understanding Fire Through the Candle Experiments
     International Association of Arson Investigators and CFITrainer.net
     April 2020




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     Fire as a Weapon
     International Public Safety Association
    April 2020


     Identifying Damage to Electrical Conductors
     Dane County Arson Response Initiative
    April 2020


     Thermometry, Heat, and Heat Transfer
     International Association of Arson Investigators and CFITrainer.net
    April 2020


     Preparation for the Marine Fire Scene
     International Association of Arson Investigators and CFITrainer.net
    April 2020


     Receptacle Fires
     Dane County Arson Response Initiative
    April 2020


     Wildfire Mitigation and Safety
     Pacific Power
     May 2020


     Timeline Analysis
     Dane County Arson Response Initiative
     May 2020


     Wildland Fire Investigations
     Dane County Arson Response Initiative
     May 2020


     Fire Investigation Report Writing
     Dane County Arson Response Initiative
     May 2020


     Thoughts on Living with Wildfire in Canada’s Forests
     Institute for Catastrophic Loss Reduction
     May 2020


     Lightning Detection and Forecasting
     Forest Technology Systems
     July 2020




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    Wildfire Management - Practices of Prudence
    Forest Technology Systems
    July 2020


    Water Mapping in Residential Structures
    UL Firefighter Safety Research Institute
    July 2020


    Using Handheld 3D Scanners for Crime and Crash Scenes
    Faro Technologies
    July 2020


     Fire Investigator Legal Challenges
     California Conference of Arson Investigators
    August 2020


    Wildfires in Siberia
     Pau Costa Foundation
    August 2020


     Investigating Fires at Federal Correctional Institutions in Canada
     Canadian Association of Fire Investigators
    August 2020


     Fire Investigation Report Writing - Public Sector
     Dane County Arson Response Initiative
     September 2020


     Myths and Legends in Fire Investigation
     Dane County Arson Response Initiative
     October 2020


     Fire Dynamics
     Dane County Arson Response Initiative
     November 2020


     Fire Pattern Persistence
     Dane County Arson Response Initiative
     December 2020


     Corrugated Stainless Steel Piping
     Dane County Arson Response Initiative
     December 2020




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      Introduction to Wildland Fuels
      Wildland Fire Learning Portal
      January 2021


      Field Observer Fire Effects Monitor
      Wildland Fire Learning Portal
      January 2021


      Wildland Fire Investigation
      California Conference of Arson Investigators
      January 2021


      Interview Techniques - Interviewing 101
      Canadian Association of Fire Investigators
      February 2021


      Digital Evidence
      Dane County Arson Response Initiative
      February 2021


      Electric & Hybrid Vehicle Design Basics
      International Association of Arson Investigators and CFITrainer.net
      February 2021


      Emerging Technologies in Fire Investigation
      International Association of Arson Investigators and CFITrainer.net
      February 2021


      Dane County Arson Response Initiative
      Fire Scene Photography
      February 2021

      Wildfire Investigation
      Firewise Consulting Learning Academy and Institute of Fire Engineers -
      Canada Branch
      February 2021


      Preventing Occupational Carcinogens at the Fire Scene
      International Association of Arson Investigators and CFITrainer.net
      February 2021


      Fire Investigator Health and Safety
      International Association of Arson Investigators and CFITrainer.net
      March 2021




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      Impacts of Horizontal Ventilation on Fire Behavior
      UL Firefighter Safety Research Institute
      March 2021


      Vehicle Fires for Fire Investigators
      Dane County Arson Response Initiative
      April 2021


      Electric & Hybrid Vehicle Fires
      International Association of Arson Investigators and CFITrainer.net
      April 2021


      NFPA 921 2021ed. Updates/Changes
      Dane County Arson Response Initiative
      April 2021


      Update on Electrical Vehicle Fires in Canada
      Canadian Association of Fire Investigators
      April 2021


      Introduction to Aircraft Crash Investigations
      Canadian Association of Fire Investigators
      June 2021


      Fire Dynamics 101 - Part 1
      Canadian Association of Fire Investigators
      June 2021


      Fire Dynamics 101 - Part 2
      Canadian Association of Fire Investigators
      July 2021


      Firewise USA - Risk Assessment
      National Fire Protection Association
      September 2021


      Forensic Anthropology and Fire Investigations
      Dane County Arson Response Initiative
      September 2021


      Hero to Zero - Firefighter Arsonists
      Dane County Arson Response Initiative
      September 2021




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    Fires in Buildings Under Construction
     Dane County Arson Response Initiative
    November 2021


    Arson Profiling/Behavioral Analysis Unit
    Dane County Arson Response Initiative
     December 2021


    Fire and Life Safety Systems
     Canadian Association of Fire Investigators
     December 2021


    Alternative Fuel Vehicles
     International Association of Arson Investigators and CFITrainer.net
    April 2022


     Community Risk Reduction
     Dane County Arson Response Initiative
    April 2022


     Fatal Fire Investigations (Case Study]
     Canadian Association of Fire Investigators
    April 2022


     Fire Origin Matrix
     Dane County Arson Response Initiative
    April 2022


    Internet of Things
     Dane County Arson Response Initiative
    April 2022

     Lithium-Ion Battery Fires
     International Association of Arson Investigators and CFITrainer.net
    April 2022


     Photovoltaic Cells & Systems
     International Association of Arson Investigators and CFITrainer.net
    April 2022                                 "

    Wildland Fires and Firesmart
     Canadian Association of Fire Investigators
    July 2022




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      Using K9's in Fire Investigation
      Canadian Association of Fire Investigators
      May 5, 2023


      IFSC Wildland Fires Webinar Series - Introduction: Part I
      International Fire Safety Research Institute
      May 19, 2023


      IFSC Wildland Fires Webinar Series - Introduction: Part II
      International Fire Safety Research Institute
      May 20, 2023


      IFSC Wildland Fires Webinar Series - Fire Behavior Basics: Part I
      International Fire Safety Research Institute
      May 21, 2023


      IFSC Wildland Fires Webinar Series - Fire Behavior Basics: Part II
      International Fire Safety Research Institute
      May 25, 2023


      IFSC Wildland Fires Webinar Series - Fire Ecology Basics
      International Fire Safety Research Institute
      May 26, 2023


      IFSC Wildland Fires Webinar Series - Fire Ecology Fundamentals
      International Fire Safety Research Institute
      May 26, 2023


      IFSC Wildland Fires Webinar Series - Fire and Atmosphere Interactions
      International Fire Safety Research Institute
      May 26, 2023


      IFSC Wildland Fires Webinar Series - Remote Sensing of Fires
      International Fire Safety Research Institute
      May 28, 2023




CONTINUING SAFETY EDUCATION

      Flammable Gases Seminar
      National Fire Protection Association
      November 1991




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     The Role of Warnings and Instructions
     College of Engineering, Department of Professional Engineering
     Development, University of Wisconsin
     March 1995


     The Role of Hazard Analysis Techniques in Evaluating Product Safety
     College of Engineering, Department of Professional Engineering
     Development, University of Wisconsin
     April 1998


     Hotel Fire Safety Act
     National Fire Protection Association
     Lodging Section Program
     November 1992


     Underground Storage Tank Management - Conducting A Hydrological
     Investigation of Gasoline Tank Leakage
     Hazardous Materials and Environmental Management Conference
     March 1993


     OSHA Respirator Protection Training
     Safety Unlimited, Inc.
     October 2017


     A2 Respirator Basics
     ClickSafety
     October 2017


     Hazardous Waste Operations and Emergency Response
     Environmental Trainers
     October 2017


     Asbestos Awareness
     Environmental Trainers
     October 2017




CONTINUING SECURITY EDUCATION

     Conducting Security Surveys
     Milwaukee Area Technical College
     October 1980




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      Retail Security Workshop
      Milwaukee Area Technical College
      October 1980


      Civil and Criminal Law Workshop
      Milwaukee Area Technical College
      February 1981


      Legal Issues
      Milwaukee Area Technical College
      August 1984




CONTINUING EMERGENCY MANAGEMENT EDUCATION

      Department of Homeland Security, Washington, D.C.,
      Nationwide SAR Initiative


              Suspicious Activity Reporting - Emergency Management Training


      Department of Homeland Security, Washington, D.C., Federal Emergency
      Management Agency, Texas A & M Engineering Extension Service


              MGT 312- Senior Officials Workshop for All-Hazards Preparedness


             AWR-160-W WMD/Terrorism Awareness for Emergency Responders



      Department of Homeland Security, Washington, D.C.
      Federal Emergency Management Agency/Office of Emergency
      Communications


              Communications Unit Leader (COML)
             Kansas City, Kansas


             Auxiliary Emergency Communicator (AUXCOMM)
             Waukesha, Wisconsin



      Illinois Emergency Management Agency
      Springfield, Illinois


             Leadership and Influence
             Chicago, Illinois




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              Principles of Emergency Management
              Bloomington-Normal, Illinois


             Volunteer and Donations Management
             Wheaton, Illinois
              Effective Communications
              Lemont, Illinois


              Emergency Planning
             Bloomington-Normal, Illinois


              Homeland Security Exercise and Evaluation Program
             DeKalb, Illinois
             Tabletop Exercise Design
             Aurora, Illinois


      International Association of Emergency Managers
      Falls Church, Virginia


             2013 International Association of Emergency Managers Conference
             Reno, Nevada


             2014 International Association of Emergency Managers Conference
             San Antonio, Texas


             2015 International Association of Emergency Managers Conference
             Las Vegas, Nevada


             2016 International Association of Emergency Managers Conference
             Savannah, Georgia



      Illinois Emergency Services Management Association
      Evansville, Illinois


             Hazard Identification and Risk Assessment (HIRA) I Threat and
             Hazard Identification and Risk Assessment (THIRA) Training


             Special Needs Training - State of Illinois Standard Guide for
             Population Related Disaster Services
             2014 Illinois Emergency Services Management Association Training
             Conference
             Bloomington-Normal, Illinois




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           2015 Illinois Emergency Services Management Association Training
           Conference
           Springfield, Illinois


           2016 Illinois Emergency Services Management Association Training
           Conference
           Springfield, Illinois


     FEMA Emergency Management Institute, Washington, D.C
     ISP - Independent Study Program


           IS-1           Emergency Manager: An Orientation to the Position


           IS-3           Radiological Emergency Management


           IS-5.a         An Introduction to Hazardous Materials


           IS-7           A Citizen’s Guide to Disaster Assistance


           IS-15.b        Special Events Contingency Planning for Public Service
                          Agencies


           IS-22          Are You Ready? An In-Depth Guide to Citizen
                          Preparedness


           IS-29          Public Information Officer Awareness


           IS-33.12       FEMA Initial Ethics Orientation 2012


           IS-35.12       FEMA Safety Orientation 2012


           IS-33.13       FEMA Initial Ethics Orientation 2013


           IS-35.13       FEMA Safety Orientation 2013


           IS-33.14       FEMA Initial Ethics Orientation 2014


           IS-35.14       FEMA Safety Orientation 2014


           IS-36          Multi-Hazard Planning for Child Care


           IS-37          Managerial Safety and Health


           IS-42          Social Media in Emergency Management


           IS-55.a        Household Hazardous Materials - A Guide for Citizens



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           IS-lOO.b     Introduction to Incident Command System


           IS-lOO.he    Introduction to Incident Command System for Higher
                        Education for School


           IS-lOO.leb   Introduction to the Incident Command System for Law
                        Enforcement


           IS-lOO.sca   Introduction to the Incident Command System for
                        Schools and Colleges


           IS-lOO.hcb   Introduction to the Incident Command System for
                        Healthcare/Hospitals


           IS-lOO.pwb   Introduction to the Incident Command System for
                        Public Works


           IS-lOl.c     Preparing for Federal Disaster Operations: FEMA


           IS-102.C     Preparing for Federal Disaster Operations: FEMA
                        Response Partners


           IS-106.15    Workplace Violence Awareness Training


           IS-120.a     An Introduction to Exercises


           IS-130       Exercise Evaluation and Improvement Planning


           IS-139       Exercise Design


           IS-200.b     ICS for Single Resources and Initial Action Incidents

           IS-201       Forms Used for the Development of the Incident Action
                        Plan


           IS-208.a     State Disaster Management


           IS-212       Introduction to Unified Hazard Mitigation
                        Assistance


           IS-230.b     Fundamentals of Emergency Management


           IS-230.d     Fundamentals of Emergency Management


           IS-235.b     Emergency Planning




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           IS-240.a    Leadership & Influence


           IS-240.b    Leadership & Influence


           IS-241.a    Decision Making and Problem Solving


           IS-241.b    Decision Making and Problem Solving


           IS-242.a    Effective Communication


           IS 242.b    Effective Communication


           IS-265      Basic Instructional Skills


           IS-271.a    Anticipating Hazardous Weather & Community Risk


           IS-288      The Role of Voluntary Agencies in Emergency
                       Management


           IS-288.a    The Role of Voluntary Agencies in Emergency
                       Management


           IS-317      Introduction to Community Emergency Response
                       Teams


           IS-319      Tornado Mitigation Basics for Mitigation Staff


           IS-322      Flood Mitigation Basics for Mitigation Staff


           IS-328      Plan Review for Local Mitigation Plans

           IS-340      Hazardous Materials Mitigation


           IS-366      Planning for the Needs of Children in Disasters


           IS-368      Including People with Disabilities and Others with
                       Access and Functional Needs in Disaster Operations


           IS-393.a    Introduction to Hazard Mitigation


           IS-394.a    Protecting Your Home or Small Business from Disaster


           IS-453      Introduction to Homeland Security Planning


           IS-454      Fundamentals of Risk Management




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           IS-524       Continuity of Operations (COOP) Planner's
                        Workshop


           IS-545       Reconstitution Planning Course


           IS-546.12    Continuity of Operations Awareness Course


           IS-547.a     Introduction to Continuity of Operations


           IS-551       Devolution Planning


           IS-559       Local Damage Assessment


           IS-613       Technical Writing


           IS-619       Research in Training and Education


           IS-632.a     Introduction to Debris Operations


           IS-660       Introduction to Public-Private Partnerships


           IS-700.a     National Incident Management System (NIMS:) An
                        Introduction


           IS-703.a     NIMS Resource Management


           IS-704       NIMS Communications and Information Management


           IS-775       EOC Management and Operations


           IS-800.b    National Response Framework: An Introduction


           IS-802      Emergency Support Function (ESF) #2 -
                       Communications


           IS-805      Emergency Management


           IS-830      Introduction to NRF Annexes


           IS-907      Active Shooter: What You Can Do


           IS-909      Community Preparedness: Implementing Simple
                       Activities for Everyone


           IS-910      Emergency Management Preparedness Fundamentals




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     Emergency Management Magazine
     Folsom, California


             2013 Emergency Management Summit
             Chicago, Illinois


             2014 Emergency Management Summit
            Chicago, Illinois


            2015 Emergency Management Summit
            Chicago, Illinois


     College of DuPage Homeland Security Education Center
     Glen Ellyn, Illinois


            London Riots and Bombing Response and Recovery Workshop



CONTINUING EMERGENCY COMMUNICATIONS EDUCATION

     Department of Homeland Security, Washington, D.C.
     Federal Emergency Management Agency/Office of Emergency
     Communications


            E0969           NIMS ICS All-Hazards Communications Unit Leader
                            (COML)


            L0146           Homeland Security Exercise and Evaluation Program
                            (HSEEP) Course


     Department of Homeland Security, Washington, D.C.
     Office of Emergency Communications I Interoperable Communications
     Technical Assistance Program


     Auxiliary Emergency Communications
     American Radio Relay League, Newington, CT
     CEP - Continuing Education Program


            EC-001          Introduction to Emergency Communications


            EC-002          Intermediate Emergency Communications


            EC-003          Advanced Emergency Communications


            EC-008          VHF/UHF - Life Beyond the Repeater




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           EC-015       Public Information Officer


           EC-016       Public Service and Emergency Communications
                         Management for Radio Amateurs


           ARRL 1247     Digital Technology for Emergency Communications



CONTINUING SEVERE WEATHER MITIGATION EDUCATION

    National Weather Service, Romeoville, IL
    Severe Weather Spotter Training


           eSpotter Introduction Training
           Severe Weather Spotter Training - Annually


    National Science Foundation National Center for Atmospheric Research,
    Boulder, CO
    University Corporation for Atmospheric Research

           Role of the SKYWARN Spotter
           SKYWARN Spotter Convective Basics


           SKYWARN Spotter Training
           Anticipating Hazardous Weather & Community Risk


    FEMA Emergency Management Institute, Washington, D.C.
    Independent Study Program


           IS-319 Tornado Mitigation Basics for Mitigation Staff

     DuPage County Office of Homeland Security and Emergency Management,
    Wheaton, IL
    Advanced Severe Weather Seminar


           Advanced Severe Weather Seminar - Annually


    Amateur Radio Relay League
     Newington, CT
     Hurricane Season Webinar


           Hurricane Season Webinar - Annually




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INSTRUCTIONAL POSITIONS

     Adler University
     Emergency Management Leadership Program
     Program Director/Professor


     Adler School of Professional Psychology
     Police Psychology Program
     Professor


     Quality Matters
     Maryland Online
     Peer Reviewer


     American Radio Relay League
     Emergency Communications
     Certified Emergency Communications Field Instructor


     American Radio Relay League
     Emergency Communications
     On-Line Instructional Mentor


     American Radio Relay League
     Emergency Communications
     Certified Emergency Communications Field Examiner


     State of Wisconsin
     Board of Vocational, Technical and Adult Education
     Fire Service Instructor I


     State of Wisconsin
     Board of Vocational, Technical and Adult Education
     Fire Service Instructor II


     William Rainey Harper College
     Fire Science
     Adjunct Instructor


     Milwaukee Area Technical College
     Police Science Technology
     Adjunct Instructor


     Milwaukee Area Technical College
     Fire Science Technology
     Adjunct Instructor




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CONTINUING INSTRUCTIONAL METHODOLOGY EDUCATION


    Higher Learning Commission
    Continuing Education
    Workshop on Student Persistence and Completion


    Higher Learning Commission
    Continuing Education
    Workshop on Assessment of Student Learning


    State of Wisconsin
    Board of Vocational, Technical and Adult Education
    Instructional Methodology


    Federal Emergency Management Agency
    Emergency Management Institute
    Basic Instructional Skills


    Federal Emergency Management Agency
     Emergency Management Institute
    Research in Training and Education


    American Radio Relay League
     Continuing Education Program
     Certified Emcomm Field Instructor


     National Association of Fire Investigators
     National Certification Board
     Fire Investigation Instruction


     Quality Matters Program
     Maryland Online
    Applying the Quality Matters Rubric Course


     Quality Matters Program
     Maryland Online
     Peer Reviewer Course


    Adler University
    Adler Online
     Online Technology and Pedagogy Training Course


     Quality Matters Program
     Maryland Online
     2014 Quality Matters Rubric Update Course



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    Quality Matters Program
    Maryland Online
    Professional and Continuing Education Review Course


    Quality Matters Program
     Maryland Online
    Master Reviewer Course




INSTRUCTIONAL POSITIONS - ENGAGEMENT SPECIFIC

     Fire/Arson Detection
    United States Fire Administration's National Fire Academy Field Program
     Chief Instructor
     October 1984


     Fire/Arson Detection
    United States Fire Administration's National Fire Academy Field Program
     Chief Instructor
     March 1985


    Arson Investigation
     Milwaukee Area Technical College
     Exclusive Instructor
     March 1986


     Fire/Arson Detection
    United States Fire Administration's National Fire Academy Field Program
     Exclusive Instructor
     May 1986


     5th Annual Midwest Conference - Fire investigation Training Resources
     International Society of Fire Service Instructors
     Instructor
    September 1986


     25th Annual Conference - Fire Investigation Training Resources
    Wisconsin Society of Fire Service Instructors
     Instructor
     February 1987


    Arson Investigation
     Milwaukee Area Technical College
     Exclusive Instructor
     March 1987




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     Fire/Arson Detection
     United States Fire Administration's National Fire Academy Field Program
     Exclusive Instructor
     March 1987


     Textiles for Interiors Course - Fire Safety Considerations in Interior Design
     Milwaukee Area Technical College
     Guest Instructor
     March 1987


     Arson Investigation
     Milwaukee Area Technical College
     Exclusive Instructor
     March 1988


     Arson Investigation
     Milwaukee Area Technical College
     Exclusive Instructor
     April 1988


     Quarterly Training Seminar - Incendiary Fire Devices
     Wood County Fire Investigation Task Force
     Guest Instructor
     April 1988


     Annual Training Seminar - Incendiary Fire Devices
     Marquette County Firemen's Association
     Guest Instructor
     April 1988


     Regional Training Seminar - Firefighter's Role in Fire Investigation,
     Grand Rapids Fire Department
     Guest Instructor
     October 1988


     Arson Investigation
     Milwaukee Area Technical College
     Exclusive Instructor
     March 1989


     Arson Investigation
     Milwaukee Area Technical College
     Exclusive Instructor
     April 1989




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    National Fire, Arson, and Explosion Investigation Training Program
    National Association of Fire Investigators
    Primary Instructor
    August 1989


     National Conference on Fire Investigation Instruction
     Primary Instructor
    National Association of Fire Investigators
    January 1990


    Arson Investigation
    Milwaukee Area Technical College
    Exclusive Instructor
    March 1990


    Fire Investigation Course for Professional Development
     Eastern Kentucky University
     Primary Instructor
     March 1990


     Fire Investigation Training Seminar
    University of Southern Mississippi
     Primary Instructor
    June 1990


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
    August 1990


     Fire Litigation and Explosion Investigation Training Seminar
     HMR Fire Technology Institute
     Primary Instructor
    September 1990


     1st Annual Fire and Explosion Investigation Training Program
    Sacramento County Fire Investigation Unit
     Primary Instructor
     November 1990


     Fire Investigation Course for Professional Development
     Eastern Kentucky University
     Primary Instructor
    April 1991




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    National Fire, Arson, and Explosion Investigation Training Program
    National Association of Fire Investigators
    Primary Instructor
    August 1991


    Arson Investigation
    Milwaukee Area Technical College
    Exclusive Instructor
    February 1992


    Fire Investigation Course for Professional Development
    Eastern Kentucky University
    Primary Instructor
    March 1992


    National Fire, Arson, and Explosion Investigation Training Program
    National Association of Fire Investigators
    Primary Instructor
    August 1992


    Public Defender's Conference - Fire Investigation
    State of Wisconsin Public Defender’s Office
    Guest Instructor
    October 1992


    Fire Science and Technology Educator's Section Program
    National Fire Protection Association
    Primary Instructor
    November 1992


    FPETool and Hazard I User's Conference
    National Institute of Standards and Technology
    Guest Instructor
    October 1992


    Fire Investigation Course for Professional Development
    Eastern Kentucky University
    Primary Instructor
    March 1993


    Regional Training Program
    Northern Illinois Arson Task Force
    Guest Instructor
    April 1993




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     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     August 1993


     Conference on Community College Fire Science and Technology Core
     Curriculum
     National Fire Protection Association
     Guest Instructor
     September 1993


     Advanced Arson Investigation Seminar
     Denver Fire Department Arson Squad
     Guest Instructor
     March 1994


     Fire Investigation Course for Professional Development
     Eastern Kentucky University
     Primary Instructor
     March 1994


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     August 1994


     Rocky Mountain Fire, Arson, and Explosion Investigation Training Program
     Aurora Fire Department
     Primary Instructor
     January 1995


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     August 1995


     Annual Training Seminar
     Washington State Chapter of the International Association of Arson
     Investigators
     Guest Instructor
     September 1995


     Annual Training Seminar
     Colorado Association of Property and Evidence Technicians
     Guest Instructor
     September 1995



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      Fire Science and Technology Educator’s Section Program
      National Fire Protection Association
      Primary Instructor
      November 1995


      Canadian National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      Primary Instructor
      October 1995


      National Advanced Fire, Arson, and Explosion Investigation Training
      Program
      Eastern Kentucky University
      Primary Instructor
      March 1996


      National Advanced Fire, Arson, and Explosion Investigation Training
      Program
      Eastern Kentucky University
      Primary Instructor
      March 1997


      National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      Primary Instructor
      July 1997


      Texas Fire, Arson, and Explosion Investigation Training Symposium
      Missouri City Fire Department, Texas A & M University
      Primary Instructor
      September 1997

     Annual Training Seminar
     Wisconsin Arson Insurance Council
     Guest Instructor
     November 1997


     Annual Fire Investigation Training Program
     Burlington County, New Jersey Arson Task Force
     Guest Instructor
     January 1997


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     July 1998



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     Annual National Training Program
     Crawford Company Special Investigation Unit
     Primary Instructor
     August 1998


     Texas Fire, Arson, and Explosion Investigation Training Symposium
     Missouri City Fire Department and Texas A & M University
     Primary Instructor
     August 1998


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     November 1998


     National Seminar on Fire Analysis Litigation
     National Association of Arson Investigators
     Instructor
     January 1999


     National Advanced Fire, Arson, and Explosion Investigation Training
     Program
     Eastern Kentucky University
     Primary Instructor
     April 1999


     Florida Fire & Explosion Investigation Symposium
     National Association of Fire Investigators
     Primary Instructor
     July 1999

     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     August 1999


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     November 1999


     National Seminar on Fire Analysis Litigation
     National Association of Fire Investigators
     Instructor
     January 2000




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     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     November 2000


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Instructor
     August 2001


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2001


     National Advanced Fire, Arson, and Explosion Investigation Training
     Program
     Eastern Kentucky University
     Instructor
     April 2002


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Instructor
     August 2002


     National Seminar on Fire Analysis Litigation
     National Association of Fire Investigators
     Instructor
     January 2002


     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     Instructor
     September 2002


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2002


     National Fire, Arson, and Explosion Investigation Training Program
     Eastern Kentucky University
     Instructor
     August 2003




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     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     Instructor
     October 2003


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2003


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Instructor
     August 2004


     National Advanced Fire, Arson, and Explosion Investigation Training
     Program
     National Association of Fire Investigators
     Instructor
     March 2004


     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     Instructor
     September 2004


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2004


     National Advanced Fire, Arson, and Explosion Investigation Training
     Program
     Eastern Kentucky University
     Instructor
     March 2005


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Instructor
     August 2005




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     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     Instructor
     September 2005


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Instructor
     October 2005


     Motor Vehicle Fire Investigation - A Primer
     Elgin Regional Fire Academy
     Exclusive Instructor
     May 2006


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Instructor
     August 2006


     Compartment Fire Dynamics and Advanced Fire Pattern Analysis - Origin
     Determination Utilizing Heat and Flame Vector Analysis
     Marengo, Illinois Fire Department
     Exclusive Instructor
     September 2006


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2006

     National Advanced Fire, Arson, and Explosion Investigation Training
     Program
     Eastern Kentucky University
     Instructor
     March 2007


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Instructor
     August 2007




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     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     Instructor
     September 2007


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2007


     Introduction to Emergency Communications
     American Radio Relay League
     Exclusive Instructor
     January 2008


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Instructor
     March 2008


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2008


     Saudi Aramco Fire, Arson, and Explosion Investigation Training Program
     Trace Fire Safety Consultants
     Primary Instructor
     November 2008


     National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Instructor
     March 2009


    Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     Instructor
    September 2009


    Canadian National Fire, Arson, and Explosion Investigation Training Program
    National Association of Fire Investigators
    Primary Instructor
    October 2009



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      Introduction to Emergency Communications
      American Radio Relay League
      Exclusive Instructor
      January 2010


      National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      Instructor
      March 2010


      Saudi Aramco Fire, Arson, and Explosion Investigation Training Program
      Trace Fire Safety Consultants
      Primary Instructor
     August 2010


      Canadian National Fire, Arson, and Explosion Investigation Training Program
      National Association of Fire Investigators
      Primary Instructor
     October 2010


      Fire Investigation Training Program for the United States Consumer Product
     Safety Commission
     Eastern Kentucky University
     Primary Instructor
     December 2010


     Central Zone Annual Training Conference
     Central Illinois Fire Investigators Association
     Guest Instructor
     April 2011

     Vehicle Fire, Arson and Explosion Investigation Science and Technology
     Seminar
     National Association of Fire Investigators
     Instructor
     September 2011


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2011


     Northern Zone Fire Investigation Seminar
     Illinois Chapter of the International Association of Arson Investigators
     Instructor
     January 2012



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     29th Annual Fire Investigation Training Conference
     Illinois Chapter of the International Association of Arson Investigators
     Instructor
    September 2012


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2012


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2013


     Psychology of Leadership
     City of Chicago Police Academy
    January 2014


     Introduction to the Incident Command System
     DuPage County Amateur Radio Emergency Service
     Primary Instructor
    January 2014


     ICS for Single Resources and Initial Action Incidents
     DuPage County Amateur Radio Emergency Service
     Primary Instructor
     May 2014


    Technical Standards and Safety Administration Fire Investigation Seminar
    Trace Fire & Safety
     Primary Instructor

    September 2014


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2014


     National Incident Management System (NIMS): An Introduction
     DuPage County Amateur Radio Emergency Service
     Primary Instructor
     October 2014




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      National Response Framework [NRF]: An Introduction
      DuPage County Amateur Radio Emergency Service
      Primary Instructor
      November 2014


      Introduction to the Incident Command System
      DuPage County Amateur Radio Emergency Service
      Primary Instructor
      March 2015


      Incident Command System for Single Incident and Initial Action
      DuPage County Amateur Radio Emergency Service
      Primary Instructor
     July 2015


     Canadian National Fire, Arson, and Explosion Investigation Training Program
     National Association of Fire Investigators
     Primary Instructor
     October 2015


     Motor Vehicle Fire Investigation - A Primer
     Elgin Fire Department
     Exclusive Instructor
     October 2017


     Origin Determination/Introduction to Heat and Flame Vector Analysis
     Utah Chapter IAAI Annual Training Seminar
     Utah Chapter of the International Association of Arson Investigators
     February 2019



RECENT ACADEMIC PRESENTATIONS


     Bringing Social Justice to Emergency Management Leadership
     Adler University
     Chicago, Illinois


     Changing Landscape ofEmergency Management
     Adler University
     Chicago, Illinois
     Emergency Management Leadership
     Adler University
     Chicago, Illinois




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     Bringing Social Justice to Emergency Management
    Adler University
     Chicago, Illinois


     Emergency Management and the Role of Higher Education
    Adler University
     Online Webinar


     Evolution ofEmergency Management in a Global Society
     Association of Threat Assessment Professionals
     Chicago, Illinois


     Impact/Interventions: Crises and Disasters for People with Disabilities
     Adler University
     Chicago, Illinois


     Emergency Management Strategies: Crises and Disasters for People with
     Disabilities
    Adler University
     Chicago, Illinois


    Strategic Planning: Goal Setting
     Chicago Chapter - Association of Threat Assessment Professionals
     Chicago, Illinois


     Industrial Security and Emergency Management- A Necessary Partnership
     Chicago Chapter - American Society for Industrial Security
     Chicago, Illinois


    Safeguarding the Psychological Well-Being and Mental Health of Your
    Personnel: Strategies and Interventions
     Illinois Emergency Services Management Association
    Springfield, Illinois


    Safeguarding the Psychological Well-Being and Mental Health of Your
    Personnel: Strategies and Interventions
     Hanover Park Township Emergency Services
    Bartlett, Illinois




PROFESSIONAL PAPERS, PUBLICATIONS AND ARTICLES


     The Dispatcher
    Badger Firemen’s Association
    Previous Monthly Contributor




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     The National Fire Investigator
     Journal of the National Association of Fire Investigators
     Previous Editor and Regular Contributor


     National Fire Code NFPA 907M, entitled Manual for the Determination of
     Electrical Fire Causes
     National Fire Protection Association
     Previous Committee Member


     National Fire Code NFPA 921, 1992 Edition, entitled Guide for Fire and
     Explosion Investigations
     National Fire Protection Association
     Previous Committee Member


     National Fire Code NFPA 921, 1995 Edition, entitled Guide for Fire and
    Explosion Investigations
     National Fire Protection Association
     Previous Committee Member


     National Fire Code NFPA 921, 1998 Edition, entitled Guide for Fire and
    Explosion Investigations
     National Fire Protection Association
     Previous Committee Member


     National Fire Code NFPA 921, 2014 Edition, entitled Guide for Fire and
    Explosion Investigations
     National Fire Protection Association
    Previous Committee Member


    National Fire Code NFPA 921, 2017 Edition, entitled Guide for Fire and
    Explosion Investigations
    National Fire Protection Association
    Previous Committee Member


    Introduction to Fire Origin and Cause, 3rd Edition
    International Fire Service Training Association
    Previous Committee Member


    Fire Investigator, 2nd Edition
    International Fire Service Training Association
    Previous Committee Member


    Introduction to Fire Origin and Cause, 4th Edition
    International Fire Service Training Association
    Previous Committee Member



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     The Virtues of the Online/Face-to-Face Blend in Emergency Management
     Higher Education
     Illinois Cops Magazine


     Experts: Emergency Management and Disaster Response Must Address
     Psychological Trauma and Mental Health
     USA Today Homeland Security Special Edition


     Fire Investigator, 3rd Edition
     International Fire Service Training Association
     Previous Committee Member



PROFESSIONAL PUBLICATIONS AND JOURNALS SUBSCRIPTIONS


     The National Fire Investigator
     Journal of the National Association of Fire Investigators (NAFI)


     The Fire and Arson Investigator
     Publication of the International Association of Arson Investigators (IAAI)


     The NFPA Journal
     Journal of the National Fire Protection Association (NFPA)


     Wildfire Magazine
     International Association of Wildland Fire




PROFESSIONAL AWARDS/ACHIEVEMENTS

     Certification of Appreciation for Valuable Contributions
     Adler School of Professional Psychology


     John Charles Wilson Scholarship Award
     International Association of Arson Investigators


     Firefighter of the Year
     Ozaukee County Association of Fire Departments
     Common Council Official Resolution 86-19
     City of Cedarburg, Wisconsin




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     Honorable Mention for the Firefighter of the Year Award
     Badger Firemen's Association


     Fire Safety Education Award
     Cedarburg Fire Department


     Official Citation for Exemplary Service
     Cedarburg Police Department


     Kentucky Colonel
     Governor Wallace G. Wilkinson
     Commonwealth of Kentucky


     Man of the Year Award
     National Association of Fire Investigators


     Material Review Committee Service Plaque
     Introduction to Fire Origin and Cause, 3rd Edition
     International Fire Service Training Association


     Material Review Committee Service Plaque
     Fire Investigator, 2nd Edition
     International Fire Service Training Association


     Material Review Committee Service Plaque
     Introduction to Fire Origin and Cause, 4th Edition
     International Fire Service Training Association


     Instructional Service Award Plaque
     Central Illinois Fire Investigator's Association


     Board of Director’s Award
     Illinois Chapter of the International Association of Arson Investigators


     Official Emergency Station (OES)
     American Radio Relay League
     Field Organization


     Public Information Officer (PIO)
     American Radio Relay League
     Field Organization




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PROFESSIONAL AFFILIATION COMMITTEE ASSIGNMENTS

International Fire Service Training Association


              Validation Committee for Fire Investigator


International Fire Service Training Association


              Validation Committee for Fire Origin and Cause


National Fire Protection Association [NFPA]

              Technical Committee on Fire Investigations




PROFESSIONAL AFFILIATIONS

       National Fire Protection Association [NFPA]


       International Code Council [ICC]

      American Society of Safety Engineers (ASSE)


      American Society for Public Administration (ASPA)


       National Fire Academy Alumni Association (NFAAA)


       National Association of Fire Investigators (NAFI)


       International Association of Arson Investigators (IAAI)

       Illinois Chapter of International Association of Arson Investigators [IL-IAAI]


       California Conference of Arson Investigators (CCAI)


       Canadian Association of Fire Investigators (CAFI)


       International Association of Wildland Fire (IAWF)


       Society of Fire Protection Engineers (SFPE)


      American Society of Safety Professionals (ASSP)


      American Society for Testing and Materials (ASTM)




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     Society of Automotive Engineers [SAE]

     American Radio Relay League [ARRLJ


     Honorable Order of the Kentucky Colonels


     American Society of Mechanical Engineers




ACADEMIC AFFILIATIONS

     Phi Kappa Phi Honors Society


     University of Cincinnati Alumni Association


     Eastern Kentucky University Alumni Association


     Eastern Kentucky University College of Justice & Safety Alumni Society




                         Subject to Change Without Notice




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M.J. Schulz & Associates, Inc.
Forensic Fire and Explosion Incident Analysis


                                    Wadsworth Matter


  REPORT OF FORENSIC INVESTIGATION AND
                ANALYSIS

                                        July 15, 2024



Identification of the Subject Hostile Fire Incident


The hostile fire incident that is the subject of this forensic investigation and analysis occurred on
Tuesday, February 1, 2022, at or about 4:27 AM (0427), in a private residence located at 1620
Highway 374, Green River, Wyoming 82935.


Request for the Forensic Investigation and Analysis

The request for this forensic investigation and analysis was originally received from Attorney
Greyson Goody of the Goody Law Group whose law offices are located at 8605 Santa Monica
Boulevard, Suite 90793, West Hollywood, California 90069. The law firm’s business telephone
number is (310) 893-1983 and its business facsimile number is (424) 427-6811. The law firm
maintains a web presence at www.goodylawgroup.com. Attorney Goody’s electronic mail address
is greyson@goodylawgroup.com.




             915 Highland Pointe Drive, Suite 250 • Roseville, CA 95678
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                  Telephone: (800) 310-2891 • www.mjschulz.com
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The forensic investigation and analysis was subsequently referred to Attorney Rudwin Ayala of
the law firm of Morgan & Morgan whose law offices are located at 1700 Palm Beach Lakes
Boulevard, Suite 500, West Palm Beach, Florida 33401. The law firm’s business telephone number
is (561) 764-2220 and its business facsimile number is (561) 764-2270. The law firm maintains a
web presence at www.forthepeople.com. Attorney Ayala’s electronic mail address is
rayala@forthepeople.com.


The request for this forensic investigation and analysis was received on behalf of M.J. Schulz &
Associates, Inc. by me as the President and Principal of the firm. The request was received and
accepted pursuant to the terms and conditions of the firm’s current rate schedule that is attached
to this report of forensic investigation and analysis as a supplement. As such, it should be
considered a part hereof as if fully contained herein.


Client Representation

Attorney Ayala and his law firm represent the interests of the plaintiffs in the civil litigation which
ensued following the occurrence of the aforementioned hostile fire incident.


That civil litigation captioned STEPHANIE WADSWORTH, Individually and as Parent and Legal
Guardian of W.W., K.W., G.W. and L.W., minor children, and MATTHEW WADSWORTH,
Plaintiff, v. WALMART, INC. and JETSON ELECTRIC BIKES, LLC, Defendants is currently
pending in the UNITED STATES DISTRICT COURT IN AND FOR THE DISTRICT OF
WYOMING under Case No. 2:23-cv-00118-NDF JURY.


Authority of M.J. Schulz & Associates, Inc., and Michael Schulz to Conduct
the Forensic Investigation and Analysis

M.J. Schulz & Associates, Inc. is a registered corporation in the State of Illinois through its
Secretary of State's Office.




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Under the Illinois Revised Statutes, the State of Illinois requires that fire and explosion and analysts
and their firms be properly licensed through the State of Illinois, Department of Financial and
Professional Regulation. M. J. Schulz & Associates, Inc., an Illinois corporation, is a licensed
Class 1 Private Detective Agency holding license number 117001067 issued by the State of
Illinois, Department of Financial and Professional Regulation.


Michael J. Schulz is also personally licensed through the State of Illinois, Department of Financial
and Professional Regulation. He is a registered Class A Private Detective holding license number
115001562 issued by the State of Illinois, Department of Financial and Professional Regulation.


Michael J. Schulz is also personally registered through the State of Illinois, Department of
Professional Regulation as a permanent employee. He is a registered Permanent Employee
holding permanent employee registration card number 129117390 issued by the State of Illinois,
Department of Financial and Professional Regulation.


Under changes to the Texas Statutes, the State of Texas requires that experts be licensed through
the Texas Department of Public Safety. M.J. Schulz & Associates, Inc. and Michael J. Schulz is
a licensed Class A Investigation Company holding license number A10054.


Michael J. Schulz is also licensed through the State of Texas’s Department of Public Safety. He
is a licensed owner holding license number A10054.


Overview of the Professional Background of Michael Schulz

Michael J. Schulz is an internationally known fire and explosion investigator and analyst and a fire
and safety engineering technologist. During his forty-three-year career to date, he has conducted
thousands of hostile fire and explosion incident investigations and analyses through actual incident
scene inspections, evaluations of motor vehicles, riding lawn mowers, other equipment, and




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physical evidence inspections and by conducting comprehensive reviews of reports, photographs,
diagrams and other documentary materials and consulting with clients.


He has been a private consultant for over thirty-three years and has consulted on and conducted
fire and explosion investigations and analyses on incidents that have occurred in the United States,
Canada, Mexico, Puerto Rico, Saudi Arabi, and Europe.


He has previously served as a municipal law enforcement officer for over eleven years. In that
capacity, he investigated fire and explosion incidents occurring both within his department's own
jurisdiction, as well as other jurisdictions under established mutual aid agreements.


He has also served as a Captain with a municipal fire department for over nine years. In that
capacity, he commanded the department's Fire Prevention Company and was responsible for the
investigation of all fire and explosion incidents occurring within the department's jurisdiction, as
well as other jurisdictions under established mutual aid agreements, supervising the department's
fire code development efforts, supervising the department's inspection and enforcement activities,
and implementing and directing the department's public fire safety education programs.


He also developed, founded, and earned accreditation for Adler University’s Master of Arts (M.A.)
in Emergency Management Leadership Program and served as the Program Director. Previous to
that, he served as a professor in the institution’s Master of Arts (M.A.) in Police Psychology
Program where he instructed at the Chicago Police Department’s training academy.


Michael J. Schulz holds a Master of Science degree (M.S.) in Safety, Security and Emergency
Management from Eastern Kentucky University. He also holds a Bachelor of Science (B.S.)
degree, Magna Cum Laude, in Fire and Safety Engineering Technology from the University of
Cincinnati's OMI College of Applied Science. He also successfully completed the Certificate
Program in Fire Science Technology taken at the University of Cincinnati's OMI College of
Applied Science and co-sponsored by the United States Fire Administration's National Fire




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Academy.


Michael J. Schulz is a graduate of the United States Fire Administration's National Fire Academy
(NFA) in Emmitsburg. Maryland, where he completed the Fire and Arson Investigation residency
program.


He also successfully attained Certificates of Completion from the CFITrainer.net in Principals of
Fire Investigation, Fire Investigation for Fire Officers with a concentration in Youth-Set Fires and
Fire Investigation for Fire Officers with a concentration in Motor Vehicle Fires.


Michael J. Schulz was a charter member of the National Fire Protection Association's (NFPA)
Technical Committee on Fire Investigations having been appointed to the committee at the time
of its formation by the National Fire Protection Association’s Standards Council. During his
seventeen (17) year tenure as a member of the technical committee, he made significant
contributions to both the National Fire Code 907M, entitled Manual for the Determination of
Electrical Fire Causes, and the National Fire Code 921, entitled Guide for Fire and Explosion
Investigations.

Michael J. Schulz was also a member of the International Fire Service Training Association
(IFSTA) Fire Origin and Cause Material Review Committee. The Material Review Committee is
responsible for the continuing review and revision of the 2nd Edition of the Association's
publication, entitled, Fire Origin and Cause.


Michael J. Schulz was also a member of the International Fire Service Training Association
(IFSTA) Fire Investigator Material Review Committee. The Material Review committee is
responsible for the continuing review and revision of the 1st Edition of the Association's
publication, entitled, Fire Investigator.


He was also a member of the International Fire Service Training Association (IFSTA) Fire




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Investigator Material Review Committee. The Material Review committee is responsible for the
continuing review and revision of the 2nd Edition of the Association's publication, entitled, Fire
Investigator.


He was most recently a member of the International Fire Service Training Association (IFSTA)
Fire Investigator Material Review Committee. The Material Review committee is responsible for
the continuing review and revision of the 3rd Edition of the Association's publication, entitled,
Fire Investigator.


Michael J. Schulz has also served as a consultant to the federal government, including the Federal
Emergency Management Agency's, United States Fire Administration's National Fire Academy,
state governments and local government. Recently, he was retained by the State of Illinois
Attorney General's Office and the State of Illinois Office of the State Fire Marshal to consult with
their respective offices relative to civil litigation in which they were representing a government
employed defendant.

He was selected to provide professional fire and explosion investigation and analysis training to
the U.S. Consumer Product Safety Commission's field investigation staff members.


He was also selected by the Ontario Technical Standards and Safety Administration to provide
professional fire and explosion investigation and analysis training to their field personnel.


He is often asked to present and to provide professional fire and explosion investigation and
analysis training to regional organizations comprised of current and prospective practitioners in
the field of fire and explosion investigation and analysis and allied areas of study.


Michael J. Schulz has also served as a consultant to a foreign government, namely, Saudi Arabia.
In past several years, he has been selected to provide professional fire and explosion investigation
and analysis training to that government's Saudi Aramco Oil Company.




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Michael J. Schulz holds national registration as a National Board Certified Fire and Explosion
Investigator (CFEI), a National Board Certified Vehicle Fire Investigator (CVFI), and a National
Board Certified Fire Investigation Instructor (CFII) through the National Association of Fire
Investigators’ National Certification Board. He also holds international registration as a Certified
Canadian Fire Investigator (CCFI) through the Canadian Association of Fire Investigators'
National Certification Committee. He also holds national registration as a Certified Fire Protection
Specialist (CFPS) through the National Fire Protection Association and the Certified Fire
Protection Specialist Board.


He is often solicited to consult with and to provide professional and skilled technical assistance to
other practitioners in the fire and explosion investigation and analysis field.


A complete listing of the professional education, training and background of Michael Schulz is
included in the current edition of his Curriculum Vitae, which is attached to this report of
investigation and analysis and should be considered a part hereof as if fully contained herein.


Nature of this Report of the Forensic Investigation and Analysis

This is a report of the forensic investigation and analysis of the hostile fire incident as of the date
of its issuance. This report was prepared to provide an overview and summary of the investigative
activities and analyses undertaken during the course of the forensic investigation and analysis and
to list the significant findings and conclusions reached as a result of same. Those investigative
activities and associated analyses were all conducted in deference to the generally recognized and
accepted practices and methodologies of the fire and explosion investigation and analysis
profession detailed herein.

This comprehensive summary, then, was not intended to enumerate and specifically describe in
detail each and every individual fact or observation upon which my findings and conclusions were
based. However, each finding and conclusion listed herein is based upon the data and information




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gleaned and analyzed during the investigation and analysis; the conducting of applicable research;
and the culmination of my professional knowledge, training, and experience during my forty-three-
year career.


Unless otherwise stated, each of my findings and conclusions listed herein was reached and is
expressed with a reasonable degree of certainty within the field of fire and explosion investigation
and analysis.


Goals of the Forensic Fire Investigation and Analysis

The goals of any forensic fire investigation and analysis are generally three-fold: to accurately
evaluate the origin of the hostile fire incident; to accurately evaluate the ignition sequence (cause)
of the hostile fire incident; and to accurately evaluate the responsibility for the occurrence of the
hostile fire incident and its adverse and undesired consequences including both personal injury and
property damage.

Fire and explosion investigation and analysis is an integral part of the fire protection system.
Properly conducted and reported fire and explosion investigations and analyses provide the fire
protection community, and those disciplines that closely interact with it and rely upon the results,
with valuable data, information and insight that ultimately leads to the reduction of physical
injuries and property damage as a result of the occurrence of hostile fire incidents.

Like all forensic fire investigations and analyses, it was the goal of this investigation and analysis
of this hostile fire incident to accurately evaluate and report the origin of the hostile fire incident;
to accurately evaluate and report the ignition sequence (cause) of the hostile fire incident; and to
accurately evaluate and report the responsibility for the occurrence of the hostile fire incident.
More specifically, it was the overall goal of the investigation and analysis to prevent the same or
similar type of hostile fire incident from occurring again in the future, thereby preventing future
physical injuries and property damage from a similar set of facts and circumstances.




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Forensic fire and explosion investigation and analysis is recognized as an important component of
the fire prevention community and serves as a basis for relevant data and information for that
community.


Applicable Guides, Recommended Practices Codes and Standards

During any forensic fire investigation and analysis, both general and specific guides,
recommended practices, codes and standards can become applicable to the investigative activities
and analyses undertaken. Likewise, during this forensic fire investigation and analysis, the
following applicable guides, recommended practices, codes and standards were identified:

   • National Fire Protection Association's National Fire Code NFPA 921, entitled Guide for
      Fire and Explosion Investigations.

   • National Fire Protection Association's National Fire Code NFPA 1033, entitled,
      Professional Qualifications for Fire Investigators.

   • National Fire Protection Association’s National Fire Code NFPA 1730, entitled, Standard
      on Organization and Deployment of Fire Prevention Inspection and Code Enforcement,
      Plan Review, Investigation, and Public Education Operations.

   • American Society for Testing and Materials' Standard E 860, entitled Standard Practice for
      Examining and Testing Items That Are or May Become Involved in Litigation.

   • American Society for Testing and Materials’ Standard E 1188, entitled Standard Practice
      for the Collection and Preservation of Information and Physical Items by a Technical
      Investigator.

   • American Society for Testing and Materials’ Standard E 1459, entitled, Standard Guide for
      Physical Evidence Labeling and Related Documentation.

   • American Society for Testing and Materials’ Standard E 1492, entitled, Standard Practice
      for Receiving, Documenting, Storing, and Retrieving Evidence in a Forensic Science
      Laboratory.




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Definitions of Specific Terminology

Certain specific terminology, that may be unique to the field of fire and explosion investigation
and analysis, and which are central to this narrative, may be utilized and/or addressed within this
report of investigation and analysis. Certain other terminology is defined within the specific
discussions contained herein that they most closely relate to. Other terminology or concepts that
are utilized and/or addressed, that may not be specifically defined here, should be considered to
have their commonly accepted meanings within the context of this report of forensic investigation
and analysis. They include the following:

       •   Area of Origin - a structure, part of a structure, or general geographic location with a
           fire scene, in which the “point of origin” of a fire or explosion is reasonably believed
           to be located. (NFPA 921, 3.3.13)

       •   Cause - the circumstances, conditions, or agencies that brought about or resulted in the
           fire or explosion incident, damage to property, bodily injury or loss of life. NFPA 921,
           3.3.27)

       •   Ceiling Jet - a relatively thin layer of flowing hot gases that develops under a horizontal
           surface (e.g., ceiling) as a result of plume impingement and the following gas being
           forced to move horizontally. (NFPA 921, 3.3.28)

       •   Combustion - a chemical process of oxidation that occurs at a rate fast enough to
           produce heat and usually light in the form of either a glow or flame. (NFPA 921, 3.3.35)

       •   Combustion Products - the heat, gases, volatilized liquids and solids, particulate
           matter, and ash generated by combustion. (NFPA 921, 3.3.36)

       •   Conduction - heat transfer to another body or within a body by direct contact. (NFPA
           921, 3.3.38)

       •   Convection - heat transfer by circulation within a medium such as a gas or a liquid.
           (NFPA 921, 3.3.39)

       •   Entrainment - the process of air or gases being drawn into a fire, plume or jet. (NFPA
           921, 3.3.56)




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   •   Explosion - the sudden conversion of potential energy (chemical or mechanical) into
       kinetic energy with the production and release of gases under pressure, or the release
       of gas under pressure. These high-pressure gases then do mechanical work such as
       moving, changing, or shattering nearby materials. (NFPA 921, 3.3.58)

   •   Explosion Dynamics - study of how chemistry, physics, fire science, engineering
       disciplines of fluid and solid mechanics, and heat transfer interact to influence
       explosion behavior. (NFPA 921, 3.3.59)

   •   Fire - a rapid oxidation process, which is an exothermic chemical reaction, resulting in
       the evolution of light and heat in varying intensities. (NFPA 921, 3.3.68)

   •   Fire Analysis - the process of determining the origin, cause, development,
       responsibility, and, when required, a failure analysis of a fire or explosion. (NFPA 921,
       3.3.69)

   •   Fire Cause - the circumstances, conditions, or agencies that bring together a fuel,
       ignition source, and oxidizer (such as air or oxygen) resulting in a fire or a combustion
       explosion. (NFPA 921, 3.3.71)

   •   Fire Dynamics - the detailed study of how chemistry, fire science, and the engineering
       disciplines of fluid mechanics and heat transfer interact to influence fire behavior.
       (NFPA 921, 3.3.73)

   •   Fire Effects - the observable or measurable change in or on a material as a result of a
       fire. (NFPA 921, 3.3.74)


   •   Fire Hazard - any situation, process, material or condition that can cause a fire or
       explosion or that can provide a ready fuel supply to augment the spread or intensity of
       a fire or explosion, all of which pose a threat to life or property. (NFPA 921, 3.3.75)

   •   Fire Investigation - the process of determining the origin, cause, and development of
       a fire or explosion. (NFPA 921, 3.3.76)

   •   Fire Patterns - the visible or measurable physical changes, or identifiable shapes,
       formed by a fire effect or group of fire effects. (NFPA 921, 3.3.78)




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   •   Fire Science - the body of knowledge concerning the study of fire and related subjects
       (such as combustion, flame, products of combustion, heat release, heat transfer, fire
       and explosion chemistry, fire and explosion dynamics, thermodynamics, kinetics, fluid
       mechanics, fire safety) and their interaction with people, structures, and the
       environment. (NFPA 921, 3.3.81)

   •   Fire Spread - the movement of fire from one place to another. (NFPA 921, 3.3.82)

   •   First Fuel Ignited - the first fuel ignited is that which first sustains combustion beyond
       the ignition source. (NFPA 921, 3.3.83)

   •   Flame - a body or stream of gaseous material involved in the combustion process and
       emitting radiant energy at specific wavelength bands determined by the combustion
       chemistry of the fuel. In most cases, some portion of the emitted radiant energy is
       visible to the human eye. (NFPA 921, 3.3.84)

   •   Flame Front - the flaming leading edge of a propagating combustion reaction zone.
       (NFPA 921, 3.3.85)


   •   Flash Fire - a fire that spreads by means of a flame front rapidly through a diffuse fuel,
       such as dust, gas, or the vapors of an ignitable liquid, without the production of
       damaging pressure. (NFPA 921, 3.3.91)


   •   Flammable Range – the range of concentrations between the lower and upper
       flammable limits. (NFPA 921, 3.3.90)

   •   Flashover - a transition phase in the development of a compartment fire in which
       surfaces exposed to thermal radiation reach ignition temperature more or less
       simultaneously and, given sufficient availability of oxygen, fire spreads rapidly
       throughout the space, resulting in full room involvement or total involvement of the
       compartment or enclosed space. (NFPA 921, 3.3.93)

   •   Fuel - a material that will maintain combustion under specified environmental
       conditions. (NFPA 921, 3.3.95)




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   •   Fuel Gas - natural gas, manufactured gas, LP-gas, and similar gases commonly used
       for commercial or residential purposes such as heating, cooling, or cooking. (NFPA
       921, 3.3.96)

   •   Fuel Load - the total quantity of combustible contents of a building, space, or fire area,
       including interior finish and trim, expressed in heat units or the equivalent weight in
       wood. (NFPA 921, 3.3.97)

   •   Fuel-Controlled Fire - a fire in which the heat release rate and growth are controlled
       by the characteristics of the fuel, such as quantity and geometry, and in which adequate
       air for combustion is available. (NFPA 921, 3.3.98)

   •   Fuel Room Involvement - condition in a compartment fire in which the entire volume
       is involved in combustion of varying intensities. (NFPA 921, 3.3.99)

   •   Glowing Combustion - luminous burning of solid material without a visible flame.
       (NFPA 921, 3.3.101)

   •   Heat - a form of energy characterized by vibration of molecules and capable of
       initiating and supporting chemical changes and changes of state. (NFPA 921, 3.3.106)


   •   Heat and Flame Vector - an arrow used in a fire scene drawing to show the direction
       of heat, smoke, or flame flow. (NFPA 921, 3.3.107)

   •   Heat Flux - the measure of the rate of heat transfer to a surface or an area, typically
       represented in kW/m2, or W/cm2. (NFPA 921, 3.3.108)

   •   Heat of Ignition - the heat energy that brings about ignition. (NFPA 921, 3.3.109)

   •   Heat Release Rate (HRR)- the rate at which heat energy is generated by burning.
       (NFPA 921, 3.3.110)

   •   Heat Transfer - the exchange of thermal energy between materials through conduction,
       convection, and/or radiation. (NFPA 921, 3.3.111)




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   •   High-Order Damage - a rapid pressure rise or high-force explosion characterized by a
       shattering effect on the confining structure or container and long missile distances.
       (NFPA 921, 3.3.113)

   •   Ignitable Liquid - any combustible or flammable liquid. (NFPA 921, 3.3.116)


   •   Ignition - the process of initiating self-sustained combustion. (NFPA 921, 3.3.117)

   •   Ignition Energy - the quantity of heat energy that should be absorbed by a substance
       to ignite and burn. (NFPA 921, 3.3.118)

   •   Ignition Temperature - minimum temperature a substance should attain in order to
       ignite under specific test conditions. (NFPA 921, 3.3.119)

   •   Low-Order Damage - a slow rate of pressure rise or low-force explosion characterized
       by a pushing or dislodging effect on the confining structure or container and by short
       missile distances. (NFPA 921, 3.3.132)

   •   Material First Ignited - the fuel that is set on fire by heat of ignition; to be meaningful,
       both a type of material and a form of material should be identified. (NFPA 921, 3.3.133)

   •   Origin - the general location where a fire or explosion began. (NFPA 921, 3.3.140)

   •   Plume - the column of hot gases, flames, and smoke rising above a fire; also called
       convection column, thermal updraft or thermal column. (NFPA 921, 3.3.148)

   •   Point of Origin - the exact physical location within the area of origin where a heat
       source, a fuel, and an oxidizing agent first interact, resulting in a fire or explosion.
       (NFPA 921, 3.3.149)


   •   Pyrolysis - a process in which material is decomposed, or broken down, into simpler
       molecular compounds by the effects of heat alone; pyrolysis often precedes
       combustion. (NFPA 921, 3.3 157)

   •   Radiation - heat transfer by way of electromagnetic waves that are longer than visible
       light waves and shorter than radio waves. (NFPA 921. 3.3.161)




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   •   Responsibility - the accountability of a person or other entity for the event or sequence
       of events that caused the fire or explosion spread of fire, bodily injuries, loss of life, or
       property damage. (NFPA 921, 3.3.163)


   •   Risk – the degree of peril; the possible harm that might occur that is represented by the
       statistical probability or quantitative estimate of the frequency or severity of injury or
       loss. (NFPA 921, 3.3.164)

   •   Scientific Method - the systematic pursuit of knowledge involving the recognition and
       definition of a problem; the collection of data through observation and experimentation;
       analysis of the data; the formulation, evaluation and testing of hypotheses; and, where
       possible, the selection of a final hypothesis. (NFPA 921, 3.3.167)

   •   Self-Heating - the result of exothermic reactions, occurring spontaneously in some
       materials under certain conditions, whereby heat is generated at a rate sufficient to raise
       the temperature of the material. (NFPA 921, 3.3.171)

   •   Self-Ignition - ignition resulting from self-heating, synonymous with spontaneous
       ignition. (NFPA 921, 3.3.172)

   •   Self-Ignition Temperature - the minimum temperature at which the self-heating
       properties of a material lead to ignition. (NFPA 921, 3.3.173)

   •   Smoke - the airborne solid and liquid particulates and gases evolved when a material
       undergoes pyrolysis or combustion, together with the quantity of air that is entrained
       or otherwise mixed in the mass. (NFPA 921, 3.3.181)

   •   Smoke Condensate - the condensed residue of suspended vapors and liquid products
       of combustion. (NFPA 921, 3.3.178)

   •   Smoldering - combustion without flame, usually with incandescence and smoke.
       (NFPA 921, 3.3.180

   •   Soot - black particles of carbon produced in the flame. (NFPA 921, 3.3.173)




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       •   Spoliation - loss, destruction, or material alteration of an object or document that is
           physical evidence in a legal proceeding by one who has responsibility for its
           preservation. (NFPA 921, 3.3.186)

       •   Spontaneous Heating - process whereby a material increases in temperature without
           drawing heat from its surroundings. (NFPA 921, 3.3.187)

       •   Spontaneous Ignition - initiation of combustion of a material by an internal chemical
           or biological reaction that has produced sufficient heat to ignite the material. (NFPA
           921, 3.3.188)

       •   Temperature - the degree of sensible heat of a body as measured by a thermometer or
           similar instrument. (NFPA 921, 3.3.191)

       •   Thermal Inertia - the properties of a material that characterize its rate of surface
           temperature rise when exposed to heat; related to the product of the material's thermal
           conductivity (k), its density (p) and its heat capacity (c). (NFPA 921, 3.3.194)

       •   Thermodynamics - the branch of physics that deals with the relationship between heat
           and other forms of energy. (NFPA 921, 3.3.195)

       •   Ventilation – the movement of gases within, into, or from any compartment or space
           or the firefighting operation of removing smoke and heat from the structure by opening
           windows and doors or making holes in the roof. (NFPA 921, 3.3.206)

       •   Ventilation-Controlled Fire - a fire in which the heat release rate or growth is
           controlled by the amount of air available to the fire. (NFPA 921, 3.3.207)


Methodology of the Forensic Investigation and Analysis

The forensic investigation and analysis of any hostile fire and explosion incident is a complex
investigative and scientific endeavor. The methodology of such an endeavor, therefore, must
include the comprehensive, objective, and accurate compilation, interpretation, and evaluation of
all the available and relevant data. This forensic investigation and analysis was conducted with
those concepts at the forefront and through adherence with the following:




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       •   Specific compliance with the Scientific Method.

       •   Specific compliance with the intellectual standards of critical thinking.

       •   Specific compliance with the process of analyzing competing hypotheses.

       •   Specific compliance with the guidelines of the National Fire Code NFPA 921
           promulgated by the National Fire Protection Association (NFPA).

       •   Specific compliance with the guidelines of the National Fire Code NFPA 1033
           promulgated by the National Fire Protection Association (NFPA).

       •   Specific deference to the requirements of Section 1.3.7 through 1.3.8, inclusive of the
           appropriate edition of National Fire Code NFPA 1033 promulgated by the National
           Fire Protection Association (NFPA).

       •   Specific compliance with the guidelines of the National Fire Code NFPA 1730
           promulgated by the National Fire Protection Association (NFPA).

       •   Specific compliance with National Wildfire Coordinating Groups’ PMS 412/NFES
           1874 publication entitled, Guide to Wildfire Origin and Cause Determination.

       •   Specific compliance with National Wildfire Coordinating Groups’ PMS 461/NFES
           001077 publication entitled, Incident Response Pocket Guide.


Specific Compliance with the Scientific Method

During the course of this forensic investigation and analysis, I was careful to employ the scientific
method which is a systematic approach commonly utilized in all of the physical sciences. Its
application and use facilitated the comprehensive, objective, and accurate compilation,
interpretation, and evaluation of all relevant data.


The scientific method as applied during a fire and explosion investigation and analysis consists of
six (6) steps including the following:




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   •   The recognition of the need for the investigation and analysis.

   •   The definition of the problem wherein the methodology of the investigation and analysis
       is formulated.

   •   The collection of the relevant data concerning the incident being investigated and analyzed.


   •   The analysis of the relevant data collected concerning the incident being investigated and
       analyzed.

   •   The development of a hypothesis based upon the analysis of the relevant data collected
       concerning the incident being investigated and analyzed. This is often referred to as
       inductive reasoning.

       Note: Inductive reasoning is a psychological process used to make decisions and solve
       problems. In applying inductive reasoning, one draws conclusions by going from the
       specific to the general.

   •   The testing of the hypothesis formulated. This is often referred to as deductive reasoning.

       Note: Deductive reasoning is another psychological process used to make decisions and
       solve problems. In applying deductive reasoning, one uses general ideas or premises to
       come to a specific conclusion.

It should be noted that the National Fire Protection Association's National Fire Code NFPA 921,
entitled Guide for Fire and Explosion Investigations, first introduced an additional and seventh
step to the traditional six steps of the scientific method. That seventh step is:


   •   Selection of the final hypothesis.




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            Figure: NFPA 921 Figure 4.3 Use of the Scientific Method.




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    Figure - NFPA 921 Figure 18.2 An Example of Applying the Scientific Method
                            to Origin Determination.




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    Figure - NFPA 921 Figure 19.2 An Example of Applying the Scientific Method
                          to Fire Cause Determination.




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The application and use of the scientific method also insured that the investigation and analysis
was conducted according to the recognized and accepted standards and practices of the fire and
explosion investigation and analysis profession, as those standards and practices are documented
in the following:


   •   National Fire Protection Association's National Fire Code NFPA 921, entitled Guide for
       Fire and Explosion Investigations.

   •   National Fire Protection Association's National Fire Code NFPA 1033, entitled,
       Professional Qualifications for Fire Investigators.

   • National Fire Protection Association’s National Fire Code NFPA 1730, entitled, Standard
     on Organization and Deployment of Fire Prevention Inspection and Code Enforcement,
     Plan Review, Investigation, and Public Education Operations.

In addition to the aforementioned, the recognized and accepted scientific principles and underlying
science for the aforementioned standards and practices of the fire and explosion investigation and
analysis profession are documented in the following:


       •   Federal Emergency Management Agency, United States Fire Administration's
           Publication Number FA 178, entitled, Report of the United States Fire Administration
           Program for the Study of Fire Patterns.

       •   National Institute of Justice's Research Report 601-97, entitled, Report on Full Scale
           Room Burn Pattern Study.

       •   National Fire Protection Association's publication, entitled, Fire Protection Handbook.

       •   Society of Fire Protection Engineers’ publication, entitled, Fire Protection Engineering
           Handbook.

       •   Fire Science Publishers and the Society of Fire Protection Engineers' publication,
           entitled, "Ignition Handbook."




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       •   International Fire Service Training Association's publication, entitled, Fire Origin and
           Cause.

       •   International Fire Service Training Association's publication, entitled, Fire
           Investigator.

       •   United States Department of Justice, Office of Justice Programs, National Institute of
           Justice Research Report, entitled, Fire and Arson Scene Evidence: A Guide for Public
           Safety Personnel.

       •   United States Department of Justice, Office of Justice Programs, National Institute of
           Justice Research Report, entitled, A Guide for Explosion and Bombing Scene
           Investigation.


Specific Compliance with the Intellectual Standards of Critical Thinking

The intellectual standards of critical thinking can logically be thought of as an extension of the
scientific method and are most prevalently discussed in academic research fields. Despite that
prevalence, however, they provide an outline for a more diverse application of the scientific
method in scientific and engineering endeavors as well.


The intellectual standards of critical thinking as applied during a fire and explosion investigation
and analysis include the following:


   •   Clarity - clear and understandable.

   •   Accuracy – free of error.

   •   Precision - exact to the necessary level of detail.

   •   Relevance – relative to the issue at hand.

   •   Depth - containing complexities and multiple interrelationships.

   •   Breadth - encompassing multiple viewpoints.




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   •   Logic - concepts make sense together with no contradictions.

   •   Significance - focusing on the important.

   •   Fairness – justifiable and not overstated.


Specific Compliance with the Process of Analyzing Competing Hypotheses

During the investigation and analysis of the hostile fire incident that is the subject of this civil
litigation, the investigating expert employed a recognized process in the analysis of potential
competing hypotheses.


The process of the analysis of potential competing hypotheses, first developed by the intelligence
community, is an intellectual critical thinking tool that is applicable and adaptable to the
investigation and analysis of the occurrence of hostile fire and explosion incidents. The analytical
analysis process incorporates the careful weighing of alternative explanation and conclusions when
judging and evaluating issues during the investigative process.


The process of the analysis of potential competing hypotheses has its roots in cognitive
psychology, the branch of psychology concerned with the acquisition, processing, and storing of
information, decision analysis, the discipline comprising the philosophy, theory, methodology, and
professional practice necessary to address important decisions in a formal manner and the scientific
method.

The primary steps in this analytical process include:

   •   Identification of potential competing hypotheses.

   •   Enumeration of significant evidence and arguments for and against each hypothesis.

   •   Development of an analysis matrix.




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   •   Development of tentative conclusions about the likelihood of each potential competing
       hypothesis and attempts to disprove each.

   •   Analysis of the impact of the subsequent conclusions.

   •   Reporting of the selection of the final hypotheses.


Specific Compliance with the Guidelines of National Fire Code NFPA 921

During the investigation and analysis of the hostile fire incident that is the subject of this civil
litigation, the investigating expert applied and followed the recognized and accepted practices and
methodologies of the fire and explosion investigation and analysis profession. The recognized and
accepted practices and methodologies of the fire and explosion investigation and analysis
profession that were applied and followed are contained within the National Fire Code NFPA 921,
entitled Guide for Fire and Explosion Investigations.


I am keenly aware of the recognized and accepted practices and methodologies of the fire and
explosion investigation and analysis profession that are contained within the National Fire Code
NFPA 921, entitled Guide for Fire and Explosion Investigations, because I was one of the
document's original authors.


The practices and methodologies contained in National Fire Code NFPA 921 provide guidelines
and ensure the accuracy of all aspects of a fire or explosion investigation and analysis. The
practices and methodologies of the fire investigation and analysis profession enumerated in
National Fire Code NFPA 921 are based upon well-established and generally recognized and
accepted scientific principles and research.


The practices and methodologies of the fire investigation and analysis profession enumerated in
National Fire Code NFPA 921 are also based upon the collective laws of physics, thermal
dynamics, and fluid dynamics.




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The application of the recognized and accepted practices and methodologies of the fire and
explosion investigation and analysis profession as embodied in National Fire Code NFPA 921
insured the accuracy of the investigating expert's findings and conclusions. The continuing
applicability and accuracy of the practices and methodologies contained in National Fire Code
NFPA 921 are insured through a peer reviewed and mandatory review process mandated and
monitored by the National Fire Protection Association's Standards Council. The peer review
process solicits input from the fire and explosion investigation and analysis profession at large and
requires a review and validation process of each and every submitted proposal resulting in a true
consensus document.


The continuing applicability and accuracy of the practices and methodologies contained in
National Fire Code NFPA 921 are also insured by the adherence of the aforementioned review
process guideline established by the American National Standards Institute (ANSI).


The application and use of the practices and methodologies contained in National Fire Code NFPA
921 is prevalent throughout the United States and the world by all aspects of the fire protection
community, both in judicial and non-judicial venues.


Specific Compliance with the Guidelines of National Fire Code NFPA 1033

The application and use of the recognized and accepted practices and methodologies contained in
National Fire Code NFPA 921 are also guided by National Fire Code NFPA 1033 entitled,
Professional Qualifications for Fire Investigators. The latter is generally viewed as a companion
document that defines job performance requirements.


National Fire Code NFPA 1033 represents job performance requirements for fire and explosion
investigators and adherence to its provisions insures consistency and accuracy of fire and explosion
investigations. The application of the job performance requirements contained in National Fire
Code NFPA 1033 insured the accuracy of my findings and conclusions.




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The continuing applicability and accuracy of the job performance requirements contained in
National Fire Code NFPA 1033 are insured through a peer reviewed and mandatory review process
mandated and monitored by the National Fire Protection Association's Standards Council. The
peer review process solicits input from the fire and explosion investigation and analysis profession
at large and requires a review and validation process of each and every submitted proposal
resulting in a true consensus document.


The continuing applicability and accuracy of the job performance requirements contained in
National Fire Code NFPA 1033 are also insured by the adherence of the aforementioned review
process guidelines established by the American National Standards Institute (ANSI).


The application and use of the job performance requirements contained in National Fire Code
NFPA 1033 is prevalent throughout the United States and the world by all aspects of the fire
protection community, in both judicial and non-judicial venues.



Specific Deference to National Fire Code NFPA 1033


Fire and explosion investigators and analysts are required to achieve and then maintain topical
education and training that focuses on the following core topics: Fire science; Fire chemistry;
Thermodynamics; Thermometry; Fire dynamics; Explosion dynamics; Computer fire modeling;
Fire investigation; Fire analysis; Fire investigation methodology; Fire investigation technology;
Hazardous materials; Failure analysis and analytical tools; Fire protection systems; Evidence
documentation, collection, and preservation; and Electricity and electrical systems.

Deference to these requirements contained in the appropriate edition of National Fire Code 1033
insured the accuracy of my findings and conclusions.




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Specific Compliance with the Guidelines of National Fire Code NFPA 1730

The application and use of the recognized and accepted practices and methodologies contained in
National Fire Code NFPA 921 are also guided by National Fire Code 1730, entitled, Standard on
Organization and Deployment of Fire Prevention Inspection and Code Enforcement, Plan Review,
Investigation, and Public Education Operations.


National Fire Code NFPA 1730 represents requirements for the organization and deployment of
fire and explosion investigators and adherence to its provisions insures consistency and accuracy
of fire and explosion investigations. The application of such requirements contained in National
Fire Code NFPA 1730 insured the accuracy of my findings and conclusions.


The continuing applicability and accuracy of the organization and deployment requirements
contained in National Fire Code NFPA 1730 are insured through a peer reviewed and mandatory
review process mandated and monitored by the National Fire Protection Association's Standards
Council. The peer review process solicits input from the fire and explosion investigation and
analysis profession at large and requires a review and validation process of each and every
submitted proposal resulting in a true consensus document.


The continuing applicability and accuracy of the organization and deployment requirements
contained in National Fire Code NFPA 1730 are also insured by the adherence to the
aforementioned review process guidelines established by the American National Standards
Institute (ANSI).


The application and use of the job performance requirements contained in National Fire Code
NFPA 1730 is prevalent throughout the United States and the world by all aspects of the fire
protection community, both in the judicial and non-judicial venues.




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Specific Deference to Value Based Ethics – Core Values


The professional practice of fire and explosion investigation and analysis subscribes to a common
set of generally recognized and accepted value-based ethics which include the following core
values:


•   Truthfulness

•   Honesty

•   Following the law

•   Uncovering wrongdoing

•   Accuracy

•   Fairness

•   Humanity

•   Responsiveness

•   Integrity

•   Stewardship

•   Concern for the public good


Summary of the Hostile Fire Incident


On Sunday, December 12, 202, the plaintiff, Matthew Wadsworth, purchased the artifact Jetson
hoverboard from the Walmart located at 201 Gateway Boulevard in Rock Springs, Wyoming
82901. The line item on the cash register receipt identified the artifact Jetson Plasma hoverboard
as “081199103159.” As part of that same purchase, he also purchased a 2-year service plan. The




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line item on the cash register receipt identified the 2-year service plan as “084375518445.”


On Monday, January 31, 2022, (night before the fire), as documented and memorialized in the
Sweetwater County Sheriff’s Department Incident Report for Incident #S22-01535, the juvenile
boy, Gunner Wadsworth, stated that he and his brother the juvenile boy, Layne Wadsworth had
gone to bed in the bedroom later identified by the governmental entities and me as the room of
origin. Specifically, he stated that he was on the top of the bunk bed while his brother, Layne
Wadsworth, was on the bottom bed. Lastly, he stated that they normally close the bedroom door
at night.


The juvenile boy, Gunner Wadsworth, further reported that the artifact Jetson hoverboard had been
used that night and had been plugged in to recharge in the bedroom that he and his brother, Layne
Wadsworth, share.


On Tuesday, February 1, 2022, at approximately 3:30 AM (0330), as documented and
memorialized in the Sweetwater County Sheriff’s Department Incident Report for Incident #S22-
01535, the juvenile boy, Gunner Wadsworth, further stated that he had gotten up and gone to the
bathroom. Specifically, he stated that he recalls checking the time on his tablet which he usually
takes with him when using the bathroom and noted that it displayed that approximate time.


Both juvenile boys reported waking up to smelling smoke and feeling heat some time thereafter
near the closet adjacent to the end of their bed. More specifically, they reported seeing flames
which the juvenile boy, Layne Wadsworth, described as a glow. They also reported hearing
activated smoke alarms sounding.


After exiting their shared bedroom, they went to the living room where they reported joining the
juvenile girl, Kamille Wadsworth, and collectively they woke up their mother, Stephanie
Wadsworth, who was sleeping in the living room. The juvenile girl, Kamille Wadsworth, reported
that she had been woken up by screams from her brothers and the activated smoke alarms. As she




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was traversing the bedroom hallway, she stated that she observed flames in her brothers’ bedroom
(Gunner and Layne) near the bunk bed and window.


Upon waking their mother, the children reported that she instructed them to exit the home while
she endeavored to wake up the other juvenile son, Weston Wadsworth, who was sleeping in a
different bedroom. The juvenile boys further stated that they were unable to exit the involved
residential structure through the front door where they observed active fire and alternatively
utilized the kitchen door leading to the garage.


Lastly, the juvenile, Kamille Wadsworth, reported observing the passerby, Ryan Pasborg, enter
the residential structure and rescue both the juvenile boy, Weston Wadsworth, and her mother,
Stephanie Wadsworth, and get them outside.


On Tuesday, February 1, 2022, at or about 4:27 AM (0427), the Sweetwater County Sheriff’s
Office and the Green River Fire Department responded to the area of 1620 Highway 374, Green
River (Sweetwater County), Wyoming 82935. Again, the response is documented and
memorialized in the Sweetwater County Sheriff’s Department Incident Report for Incident #S22-
01535.


Concurrent with their response, emergency medical services (EMS) personnel also responded to
the hostile fire incident to triage and treat those Wadsworth family members requiring emergency
medical intervention. Specifically, the plaintiff, Stephanie Wadsworth, and her juvenile son,
Weston Wadsworth, were transported first to Memorial Hospital of Sweetwater County. Both were
subsequently transferred to the University of Utah Burn Center.


The Green River Fire Department reportedly cleared the scene at or about 11:15 AM (1115)
according to associated dispatch log entries.




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               Image: Photograph of the front of the involved residential structure.


As documented and memorialized in the Sweetwater County Sheriff’s Department Incident Report
for Incident #S22-01535, the reporting person, Ryan Pasborg, stated that on February 1, 2022, at
or about 4:20 AM (0420) he was traveling on Highway 374 towards Green River, Wyoming going
to work when he first smelled smoke and then saw smoke and flames coming from the involved
residential structure. After pulling into the driveway, stopping on the northwest side of the
involved residential structure and exiting his truck, he reported observing flames coming out of
the window near the front door of the residential structure. It should be noted that this window is
in the bedroom located on the north side of the bedroom hallway immediately adjacent to or behind
the kitchen.




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               Image: Photograph of the window to the bedroom (room of origin).


In his interview with Detective Sheaman, the following information was obtained and
memorialized: “Ryan stated he witnessed a young girl and two young boys walk out of a door on
the north side of the house, leading into the garage. Ryan stated the three children said their brother
was still inside so he entered the home through the garage door and up several steps into the
kitchen. (Det. Sheaman had noticed a door leading from the kitchen into the garage during his
origin and cause investigation). Ryan stated he could not see anything inside the residence because
of the heavy smoke. He stated he did not know what room he was in or where the fire was. He
stated he low crawled into the house and heard smoke detectors going off. Ryan stated he only
crawled into the residence approximately 2-3' when he bumped into a small child, who he stated




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was on his hands and knees. Ryan stated he grabbed the child around the waist, picked him up and
carried him outside through the garage door.


Ryan explained when he brought the child outside, he put him and the three other children in his
truck to keep them warm. He then stated the children mentioned that their mother was still inside
the residence.


Ryan stated he again entered the home through the garage door and he again low crawled into the
residence through the door leading from the kitchen to the garage. He stated he bumped into a
woman, who was lying on her back. He stated she was lying on the floor approximately 2-3' further
from where he believed he found the child. (By his description, Det. Sheaman believed that both
Weston and Stephanie would have been in the kitchen area of the residence). Ryan stated Stephanie
was "gurgling" when he found her. Ryan explained he positioned himself near Stephanie's head
and he grabbed her under her arms to try and lift her to drag her out of the residence. Ryan stated
when he lifted Stephanie, he felt what he believed her skin "smear" off of her arms.


Ryan described having to stay low and drag Stephanie out of the house. He explained that once
outside, he laid her on the ground between the house and where his work truck was parked. He
stated he believed he heard her take her last breath and he decided to perform CPR. Ryan, who is
a volunteer Firefighter in Superior, stated he performed two sets of chest compressions and gave
Stephanie two breaths between compressions. He stated Stephanie took a "gasp of air" and she sat
up and stood up. Ryan stated he escorted her to his truck where she sat on the back seat on the
driver's side. Ryan explained she was sitting on her knees on the bench seat and was turned inward,
facing the young girl and two boys. He stated the other boy was in the front passenger side seat.


Ryan stated he got into the truck and drove to the end of the driveway to meet EMS and fire
personnel.”


Upon the arrival of responding personnel, the first arriving sheriff’s deputy (Deputy Sheriff




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Hansen) was informed by the reporting person (Ryan Pasborg) that he had assisted in getting the
occupants out of the involved structure, namely, an adult female and four (4) children. The
reporting person further advised that he had escorted the evacuated occupants to his parked motor
vehicle. The reporting person still further advised that the adult female had sustained significant
thermal burn injuries.


Deputy Sheriff Hansen summarized his initial activities as follows: “DS Hansen advised EMS of
the location of the patients and patient update. DS Hansen observed an EMT arrive and start to
evaluate the patients in the truck. DS Hansen went to the house to make sure no other people were
in the residence. DS Hansen observed a house engulfed in flames. Heavy smoke prevented
deputies from getting a decent visual of the interior of the residence. DS Hansen walked around
the entire perimeter of the house and observed a power line that was connected to the house was
down on the ground, still connected to the power pole but detached from the house. DS Hansen
observed the electricity breaker to shut the power off was in the engulfed area. DS Hansen did not
discover any signs of anyone being inside the house at that time.”


The hostile fire incident involved a single-family, year-round residential structure. While the
involved building has been described by some as a multi-story structure, the main occupied living
space is located on a single level. The structure was regularly occupied by adults Matthew and
Stephanie Wadsworth and their juvenile children, Kamille Wadsworth, Gunner Wadsworth, Layne
Wadsworth, and Weston Wadsworth. At the time of the occurrence of the hostile fire incident,
however, the plaintiff, Matthew Wadsworth, was at work.


The Green River Fire Department subsequently arrived at the scene and extinguished the hostile
fire incident. After extinguishment, the Green River Fire Department requested the assistance of
the Sweetwater County Sheriff’s Department’s Detective Division in the investigation of the
hostile fire incident. In response to that request, Sergeant Hall and Detective Sheaman were
advised of the request and accepted the assignment.




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On Tuesday, February 1, 2022, at or about 1:00 PM (1300), as documented and memorialized in
the Sweetwater County Sheriff’s Department Incident Report for Incident #S22-01535, Detective
Sheaman commenced his investigation of the hostile fire incident scene.


On Tuesday, February 2, 2022, as documented and memorialized in the Sweetwater County
Sheriff’s Department Incident Report for Incident #S22-01535, Detective Sheaman conducted a
recorded in-person interview with the reporting person, Ryan Pasborg, at the Sweetwater County
Sheriff’s Department.


On Tuesday, February 2, 2022, as documented and memorialized in the Sweetwater County
Sheriff’s Department Incident Report for Incident #S22-01535, Detective Sheaman conducted a
recorded telephone interview with the plaintiff Matthew Wadsworth.


On Wednesday, February 3, 2022, as documented and memorialized in the Sweetwater County
Sheriff’s Department Incident Report for Incident #S22-01535, Detective Sheaman responded to
the Walmart located in Rock Springs, Wyoming and confirmed that the data and information on
the Walmart cash register receipt in the possession of the plaintiff, Matthew Wadsworth, was
correct relative to a “Plasma IRS HOVBRD” with a UPC code ending in “3159.”


On Friday, March 4, 2022, at or about 2:00 PM (1400), as documented and memorialized in the
Sweetwater County Sheriff’s Department Incident Report for Incident #S22-01535, Detective
Sheaman conducted recorded in-person interviews with the juvenile members of the Wadsworth
family, namely, Kamille Wadsworth, Weston Wadsworth, Gunner Wadsworth and Layne
Wadsworth.




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Involved Residential Structure


The residential structure in which the hostile fire incident occurred was diagramed and annotated

as follows;




                   Diagram: Main floor of the involved residential structure.




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          Diagram: Below grade floor of the involved residential structure.




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Adverse Consequences of the Occurrence of the Hostile Fire Incident


As a result of the occurrence of the hostile fire incident, two (2) occupants of the involved structure,
namely, Stephanie Wadsworth and her son Weston Wadsworth sustained significant thermal burn
injuries and were transported to Memorial Hospital of Sweetwater County. They were both
subsequently transferred to the University of Utah Burn Center.


In addition, the involved residential structure sustained significant fire related property damage.
As a result of that damage, it was rendered inhabitable.


Previous Investigation by Governmental Entities


The occurrence of the hostile fire incident was previously investigated by the Green River Fire
Department. That investigation is documented and memorialized in a Supplemental Narrative
contained within the Sweetwater County Sheriff’s Department Incident Report for Incident #S22-
01535.


As indicated in that Supplemental Narrative, both Assistant Fire Chiefs Bill Robinson and Larry
Erdman of the Green River Fire Department both had concluded that the area of origin of the
hostile fire incident was in the bedroom located on the north side of the bedroom hallway
immediately adjacent to or behind the kitchen. More specifically, they concluded that the specific
origin of the hostile fire incident was located near where the remains of a lithium battery powered
hoover board were located.


The occurrence of the hostile fire incident was also investigated by the Sweetwater County
Sheriff’s Department Detective Sheaman who is reported to be a certified origin and cause
investigator in the State of Wyoming. He was accompanied by Assistant Fire Chiefs Bill Robinson
and Larry Erdman of the Green River Fire Department. Sweetwater County Sheriff’s Department




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Sergeant Hall also responded later to provide additional assistance.


That investigation is documented and memorialized in the Sweetwater County Sheriff’s
Department Incident Report for Incident #S22-01535. The investigation was closed on 03/04/22
by Detective Sheaman with a disposition of “Case closed pending further information.”


Detective Sheaman concluded that “Either size, the door would have opened towards the wall,
opposite of the kitchen, closely to where the Hoverboard was resting. If there was a door hung and
it was opened or partially opened, the Hoverboard could have caught fire and severe heat from the
fire could have been isolated momentarily in the void between the door and the wall. (The damage
to that area showed this to be a credible hypothesis).”


On November 16, 2023, Detective Sheaman also participated in a discovery deposition taken
during the civil litigation. During the course of that discovery deposition, he further memorialized
his investigation and offered the following additional findings and conclusions:


   • That he found no evidence to support a conclusion that the hostile fire incident originated
     outside of the residential structure.

   • That he is aware of no data or information to change his finding and conclusion relative to
     the origin of the hostile fire incident.

   • That he is aware of no data or information to change his finding and conclusion relative to
     what caused the hostile fire incident.

   • That knowing when the power went out to the house would not change his findings and
     conclusions relative to the origin and cause of the hostile fire incident.

   • That he observed melted plastic covering the lower half of the duplex outlet near the
     bedroom door with wires protruding from that plastic which was indicative that something
     was plugged into the lower portion of the outlet.
   • That based on his interview with Gunner Wadsworth and Lanye Wadsworth, he understood




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       them to say that they saw smoke and flames inside their room.


   • That he gained knowledge from his interview of Matthew Wadsworth that the electrical
     outlet that Gunner Wadsworth and Lanye Wadsworth normally use to charge the artifact
     hoverboard is the same as the one he observed wires protruding from.

   • That the hostile fire incident originated in the bedroom and that it was caused by the artifact
     hoverboard.

   • That three (3)b different fire investigators from both the fire department and law
     enforcement arrived at the same findings and conclusions.

   • That no one told him that anything other than the artifact hoverboard was plugged into the
     duplex electrical outlet.

   • That no one has shared any actual evidence that the electric space heater was turned on in
     the outside shed.


Scope of the Forensic Investigation and Analysis


In general, the scope of the forensic investigation and analysis was to evaluate the origin of the
hostile fire incident, to evaluate the ignition sequence (cause) of the hostile fire incident and to
evaluate the responsibility for the occurrence of the hostile fire incident and its adverse and
undesired consequences including both personal injury and property damage.


More specifically, however, the scope of the forensic investigation and analysis included the
following:

   • To evaluate the initiation of the hostile fire incident.

The initiation of the hostile fire incident is defined as the analysis of the relationships of the fuel
source, competent source of heat energy and oxidizing agent. The initiation of the hostile
explosion/fire incident also analyzes the nature of the uninhibited chemical chain reaction.




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    •   To evaluate the nature of the hostile fire incident.


The nature of a hostile fire incident is defined as description of the physical conditions and
consequences which were present immediately prior to and during the occurrence of the hostile
explosion/fire incident.


    •   To evaluate the origin of the hostile fire incident.


The area of origin of a hostile fire incident is defined as where the incident began. The point of
origin of a hostile fire incident is defined as the exact physical location where a heat source and a
fuel came in contact with each other, and a hostile explosion/fire incident begins.


    •   To evaluate the first fuel ignited in the hostile fire incident.


The first fuel ignited is defined as the first fuel that is ignited by a competent source of ignition.


    •   To evaluate the ignition sequence (cause) of the hostile fire incident.

The ignition sequence (cause) of a hostile fire incident is defined as the circumstances, conditions
or agencies that bring together the first fuel ignited and a competent source of ignition (heat energy)
contemporaneous with a sufficient concentration of air or oxygen.


    •   To evaluate the classification of the cause of the hostile fire incident.

The classification of the cause of a hostile fire incident is defined relative to the interaction and/or
lack of human interaction with regard to its initiation.


    •   To evaluate the development, progression, propagation, and fire flow path of the hostile
        fire incident.

The development, progression, propagation, and fire flow path of a hostile fire incident is defined
as the actual physical movement or fire flow path of the hostile explosion/fire incident following
its initiation.

    •   To evaluate the effects of the hostile fire incident on the victims.




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The effects of a hostile fire incident are defined as the consequences of the occurrence of the hostile
fire incident as a result of the undesired and unexpected presence of combustion by-products.


   •   To evaluate the responsibility for the occurrence of the hostile fire incident.

The responsibility for the occurrence of a hostile fire incident is defined as the accountability of a
person or other entity for the event or sequence of events that caused the fire or explosion spread
of fire, bodily injuries, loss of life, or property damage.



Recognition of the Potential for and Mitigation of Investigative Biases

During the forensic investigation and analysis of a hostile fire incident, it is imperative that there
is a recognition of and appropriate mitigation of potential investigative biases. The three prevalent
potential investigative biases are those of presumption, expectation bias and confirmation bias.


National Fire Code NFPA 921, entitled Guide for Fire and Explosion Investigations, cautions
against developing a hypothesis until the requisite data and information have been collected. It is
important that no presumptions be made relative to the hostile fire incident’s origin, to its ignition
sequence (cause) or relative to the responsibility for its occurrence until a properly executed
forensic investigation and analysis fosters a defensible hypothesis.


National Fire Code NFPA 921 broadly regards expectation bias as "a well-established
phenomenon that occurs in scientific analysis when investigator(s) reach a pre-mature conclusion
without having examined or considered all of the relevant data." The adverse effect of expectation
bias is such that only data and information that tends to support an ill-conceived or prematurely
formed hypothesis, real or perceived, is considered, while rejecting or misinterpreting other
relevant and germane data and information that may actually facilitate an accurate forensic
investigation and analysis.


This same document regards confirmation bias as occurring whenever the testing of a derived




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hypothesis fails to consider other alternative hypotheses. The equally adverse effect of
confirmation bias is that data and information that legitimately supports another potential
competing, or alternative hypothesis is not appropriately considered and/or tested.


During the investigation and analysis of a hostile fire incident, then, it was of paramount
importance that the fire and explosion investigator and analyst remain in strict compliance with
the scientific method, the intellectual standards of critical thinking, the analysis of competing
hypotheses, the guidelines of the National Fire Code NFPA 921 and the guidelines of the National
Fire Code NFPA 1033 as was previously affirmed.


Overview of the Forensic Investigation and Analysis

The forensic investigation and analysis of the hostile fire incident was initiated and undertaken by
the undersigned. Any and all investigative activities and analyses conducted at the request of the
aforementioned client were conducted my myself and/or colleague Austin Birdsong.


On February 17, 2022, I consulted with my aforementioned client, conducted a conflict of interest
check, opened a new case file, and conducted web-based background research on the occurrence
of the hostile fire incident.


On February 19, 2022, I submitted Freedom of Information (FOIA) requests with the Green River,
Wyoming Fire Department and the Sweetwater County Sheriff’s Department. In addition, I
conducted preliminary research relative to local building and fire codes and standards.


On February 22, 2022, I conducted limited preliminary research of Jetson Plasma hoverboards as
was identified by my aforementioned client, Greyson Goody.




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         Image: Walmart receipt documenting purchase of artifact Jetson hoverboard.

On March 16, 2022, I read and reviewed documents shared by the plaintiffs’ homeowner’s
insurance company’s retained consultant, IC Specialty Services and specifically Cristol
VanDongen. I also reviewed and analyzed a compilation of investigative photographs shared by
same.


On May 17, 2022, I traveled to Green River, Wyoming in preparation for my participation in a
joint inspection of the hostile fire incident scene hosted by the plaintiffs’ homeowner’s insurance
company’s retained consultant, IC Specialty Services and specifically Cristol VanDongen.




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On May 18, 2022, I monitored and participated in that joint inspection of the hostile fire incident
scene. The joint inspection was commenced pursuant to a written inspection protocol developed
and written by IC Specialty Services. I completed a preliminary inspection and evaluation of the
hostile fire incident scene which was limited to visual, non-intrusive and non-destructive
investigation activities only. I also photographically documented same through digital color still
photography.


The originally proposed inspection sequence for this joint inspection included the following
investigative activities:



    •   “A pre-inspection meeting will be held prior to the inspection of the property. This meeting
        will be held at the loss site prior to any inspections.


    •   Visual inspection of the loss site. Each participant will be allowed to photograph and
        document the property/fire loss.


    •   Photographic documentation may be taken at any time during the inspection.


    •   Removal of debris and fire scene reconstruction. If necessary, the removal and sifting of
        fire debris will be conducted. The area of origin may be reconstructed if possible. Any
        artifacts found during this process will be collected as evidence, if necessary, following the
        guidelines set-forth in this document.


    •   Testing of building equipment, building utilities, and building materials, if necessary, as
        agreed upon by all participants, may be conducted.


    •   Identification of artifact(s) to be collected as evidence. If necessary, evidence will be
        identified by each participant, following the guidelines set-forth in this document, and
        removed from the property. Participants must, by the termination of the inspection, inform
        the site manager of all evidence they wish to be collected.




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   •   Final Meeting. A final meeting of all participants will be conducted at the conclusion of
       the inspection.”



During that joint inspection, I conducted a heat and flame vector analysis of the hostile fire incident
scene and involved residential structure to determine its area of origin. During that same
inspection, other potential interested parties were identified.


Physical evidence which had been previously preserved and collected from the hostile fire incident
scene by the plaintiffs’ homeowner’s insurance company’s retained consultant, IC Specialty
Services and specifically, Cristol VanDongen, was displayed for a visual, non-intrusive and non-
destructive inspection.


By agreement of the interested parties present, the physical evidence continued to be maintained
by IC Specialty Services for the benefit of all the interested parties.


The joint inspection was suspended prior to any intrusive and/or destructive investigation activities
pending a future recommencement. My aforementioned client, Greyson Goody, was subsequently
informed of the identification of those other potential interested parties.


The joint inspection was suspended to facilitate notification of all persons and or entities who had
or may have a legal interest in the continued joint inspection of the hostile fire incident scene. It
was also suspended to facilitate a more thorough documentation of the hostile fire incident scene
utilizing 3-D photographic equipment. This documentation was deemed necessary by the
interested parties present prior to the anticipated intrusive and destructive investigative activities
necessary to appropriately process the hostile fire incident scene thereafter.




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   Image: Photograph of the artifact hoverboard previously collected and preserved from the
                                  hostile fire incident scene.



On July 26, 2022, by mutual agreement of the interested parties, the remains of the artifact Jetson
hoverboard which was previously preserved and collected from the hostile fire incident scene were
subjected to x-ray documentation. That x-ray image was coordinated and supervised by the
plaintiffs’ homeowner’s insurance company’s retained consultant, IC Specialty Services and
specifically Cristol VanDongen.




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                 Image: X-ray image of the artifact hoverboard.




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                 Image: X-ray image of the artifact hoverboard.




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On August 1, 2022, in preparation for the continuation of the joint inspection of the hostile fire
incident scene, I dispatched Austin Birdsong of Apex Fire Services to document same using 3-D
Matterport photographic technology. The documentation activity was commenced pursuant to a
written inspection protocol developed and written by M.J. Schulz & Associates, Inc.




   Image: “Doll House” depiction of the 3-D Matterport photographic documentation of the
                                hostile fire incident scene.



On August 2 - 4, 2022, I dispatched Austin Birdsong of Apex Fire Services to execute the
continuation of the visual, intrusive and potentially destructive inspection, examination and
analysis of the involved residential structure and/or physical evidence remaining therein. The joint
inspection was commenced pursuant to a written inspection protocol developed and written by
M.J. Schulz & Associates, Inc.




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The methodology for this continued joint inspection included the following:


•   The convening of a morning briefing, to be attended by all participants and to commence at
    approximately 9:00 AM on the day(s) of the investigation, to discuss the execution of the
    primary provisions of this protocol.

•   The execution of an inspection attendance sign-in sheet that includes the names, businesses,
    addresses, telephone numbers, electronic mail addresses and affiliations of any and all persons
    who enter the incident scene.

•   360-degree photographic documentation of the involved residential structure with a Matterport
    camera.

•   Photographic documentation of the involved residential structure and/or physical evidence
    remaining therein with digital still cameras.


•   Preliminary inspection of the involved residential structure and/or physical evidence remaining
    therein by the recently notified interested parties.

•   The division of the room of origin (children’s bedroom) of the involved residential structure
    into manageable and defined search grids of an appropriate size and configuration not to exceed
    four feet by four feet.

•   The identification of each of the defined search grids with a unique numeric or alphanumeric
    identification.

•   The hand search of each of the defined search grids.


•   The identification of any and all relevant items of physical evidence located in each of the
    defined search grids.

•   The photographic documentation of the aforementioned relevant items of physical evidence
    located in each of the defined search grids.

•   The segregation collection, and preservation of all electrical devices located within each of the
    defined search grids.




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•   The segregation, collection, and preservation of any smoke detector/alarm located within each
    of the defined search grids.

•   The segregation, collection, and preservation of all sources of ignition located within each of
    the defined search grids.

•   The segregation, collection, and preservation of any other items of mutual interest located
    within each of the defined search grids.

•   The segregation, collection and preservation of all other debris located within each of the
    defined search grids for future sifting by storage in plastic storage containers.

•   The removal and collection of all branch circuit electrical components, i.e., electrical switches,
    electrical outlets and connected electrical devices located within or shared with the room of
    origin (children’s bedroom) of the involved residential structure.

•   The tracing of the branch circuit supplying the room of origin (children’s bedroom) of the
    involved residential structure.


•   The identification of the circuit protection scheme protecting the branch circuit supplying the
    room of origin (children’s bedroom) of the involved residential structure.


•   The segregation, collection, and preservation of the circuit protection scheme (circuit breaker)
    protecting the branch circuit supplying the room of origin (children’s bedroom) of the involved
    residential structure.

•   The segregation, collection and preservation of the refrigerator and its power supply cord
    which shares an electrical supply with the room of origin (children’s bedroom) of the involved
    residential structure.


•   The tracing of the branch circuit supplying that refrigerator.


•   The identification of the circuit protection scheme protecting the branch circuit supplying that
    refrigerator.




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•   The segregation, collection, and preservation of the circuit protection scheme (circuit breaker)
    protecting that refrigerator.

•   The segregation, collection, and preservation of any smoke detector/alarm located within other
    rooms or areas of the involved residential structure.


•   The hand search of the living room of the involved residential structure for the charging block
    and associated charging cord of the rechargeable remote-control vehicle previously located
    and preserved from the room of origin (children’s bedroom) of the involved residential
    structure.


•   The hand search of the kitchen counters for the second rechargeable remote-control vehicle
    and its charging block and associated charging cord.


•   The hand search of any other areas of the involved residential structure of mutual interest.


•   The appropriate packaging of all additional items of physical evidence located within the
    involved structure.

•   The appropriate labeling and inventory of the additional items of physical evidence located
    within the involved structure.

•   The removal and preservation of all identified and tagged items of physical evidence located
    within the involved structure.

•   The convening of a daily afternoon briefing to discuss the execution of the primary provisions
    of this protocol.

As a result of the continued joint inspection, additional physical evidence was identified, collected
and preserved from the hostile fire incident scene and continued to be maintained by IC Specialty
Services for the benefit of all the interested parties.




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        Image: Search grids in the room of origin and adjacent exterior area.




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                        Image: Search grids of adjacent exterior area


The accumulative physical evidence collected and preserved from the hostile fire incident scene
included:


                  IC SPECIALTY SERVICES ARTIFACT/EVIDENCE LOG 1
     INSURED:                    Nuttall                  CLM # :         5015617702
      Evidence
                           Cristal VanDongen              FILE #:          22-39937
     Custodian:
    Item Number                       Description                        Date Collected:
            1                  fire damaged hover board                     4-Feb-22




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              IC SPECIALTY SERVICES ARTIFACT/EVIDENCE LOG 2
     INSURED:                Nuttall                  CLM # :         5015617702
Evidence Custodian:         Alex Hoff                 FILE #:          22-39937
   Item Number                        Description                    Date Collected:
        1                           Smoke detector                   8/2 to 8/4, 2022
        2                           Smoke detector                   8/2 to 8/4, 2022
        3                           Smoke detector                   8/2 to 8/4, 2022
        4                           Smoke detector                   8/2 to 8/4, 2022
        5                           Smoke detector                   8/2 to 8/4, 2022
        6                           Smoke detector                   8/2 to 8/4, 2022
        7                           Smoke detector                   8/2 to 8/4, 2022
        8                           Smoke detector                   8/2 to 8/4, 2022
        9                           Smoke detector                   8/2 to 8/4, 2022
        10                  mattress - northeast bedroom             8/2 to 8/4, 2022
        11                  mattress - northeast bedroom             8/2 to 8/4, 2022
        12            remnants of smoke detector - SW bedroom        8/2 to 8/4, 2022
        13              battery from SW bath/bedroom 8.75 V          8/2 to 8/4, 2022
        14                 debris from behind refrigerator           8/2 to 8/4, 2022
        15                   battery SW bedroom 8.47 V               8/2 to 8/4, 2022
        16            motor from the threshold for bedroom #4        8/2 to 8/4, 2022
        17              smoke alarm base - garage, west wall         8/2 to 8/4, 2022
        18                 smoke detector base - basement            8/2 to 8/4, 2022
        19                           Weather Head                    8/2 to 8/4, 2022
        20            Electrical circuit and breaker - bedroom #4    8/2 to 8/4, 2022
        21                  Electrical circuits - bedroom #4         8/2 to 8/4, 2022
        22                   electrical receptacle - garage          8/2 to 8/4, 2022
        23                      face plates - bedroom #4             8/2 to 8/4, 2022
                        circuit breaker - east exterior electrical
        24
                                        receptacle                   8/2 to 8/4, 2022
        25                      charging cords - kitchen             8/2 to 8/4, 2022




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      26            debris from floor of closet - bedroom #4     8/2 to 8/4, 2022
      27                    floor debris - bedroom #4            8/2 to 8/4, 2022
                     solid debris - exterior, east side of the
      28
                                     structure                   8/2 to 8/4, 2022
                     solid debris - exterior, east side of the
      29
                                     structure                   8/2 to 8/4, 2022
      30                           refrigerator                  8/2 to 8/4, 2022
     A1a.                             Debris                     8/2 to 8/4, 2022
     A1b.                smoke detector components               8/2 to 8/4, 2022
     A1c.              carpet and miscellaneous debris           8/2 to 8/4, 2022
     A2a.                             debris                     8/2 to 8/4, 2022
     A2b.                        miscellaneous                   8/2 to 8/4, 2022
     A3a.                             debris                     8/2 to 8/4, 2022
     A3b.                        miscellaneous                   8/2 to 8/4, 2022
     B1a.                             debris                     8/2 to 8/4, 2022
     B1b.                 2 battery cells (hover board)          8/2 to 8/4, 2022
      B1c.                    miscellaneous debris               8/2 to 8/4, 2022
     B2a.                             debris                     8/2 to 8/4, 2022
     B2b.                           debris                       8/2 to 8/4, 2022
     B3a.                           debris                       8/2 to 8/4, 2022
     B3b.                           debris                       8/2 to 8/4, 2022
     B3c.                           debris                       8/2 to 8/4, 2022
     B3d.                           debris                       8/2 to 8/4, 2022
     B3e.                       miscellaneous                    8/2 to 8/4, 2022
     C1a.                           debris                       8/2 to 8/4, 2022
     C1b.                       miscellaneous                    8/2 to 8/4, 2022
     C2a.                           debris                       8/2 to 8/4, 2022
     C2b.                       miscellaneous                    8/2 to 8/4, 2022
     C3a.                           debris                       8/2 to 8/4, 2022
     C3b.                           debris                       8/2 to 8/4, 2022
     C3c.                       miscellaneous                    8/2 to 8/4, 2022
     D1a.                           debris                       8/2 to 8/4, 2022
     D1b.                       miscellaneous                    8/2 to 8/4, 2022
     D2a.                      electrical wiring                 8/2 to 8/4, 2022
     D2b.          portable heater and associated electrical     8/2 to 8/4, 2022




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          D2c.                           extension cord                   8/2 to 8/4, 2022
          D2d.                              ashtray                       8/2 to 8/4, 2022
          D2e.              misc. debris and electrical components        8/2 to 8/4, 2022
          D2f.                         light component                    8/2 to 8/4, 2022
                         aluminum wiring from beneath the weather
          D2g.
                                              head                        8/2 to 8/4, 2022
          D2h.             extension cord and electrical receptacle       8/2 to 8/4, 2022
          D2i.                       miscellaneous debris                 8/2 to 8/4, 2022
          D2j.                       miscellaneous debris                 8/2 to 8/4, 2022
          D2k.                       miscellaneous debris                 8/2 to 8/4, 2022
          D2l.                 debris from above the solid mas            8/2 to 8/4, 2022
          D2m                                debris                       8/2 to 8/4, 2022
          D2n.                               debris                       8/2 to 8/4, 2022




On Monday, October 30, 2023, at or about 9:00 AM (0900), and Tuesday, October 31, 2023, a
joint inspection of physical evidence previously collected and preserved from the scene of the
hostile fire incident was conducted. The joint inspection occurred at Palmer Engineering and
Forensics located at 30 North Cutler Drive, Suite #404, North Salt Lake, Utah 84054. While I was
not in attendance, I later reviewed the written protocols which guided the joint inspection and
reviewed and analyzed photographic documentation provided of same.


On February 29, 2024, the remains of the artifact Jetson hoverboard which was previously
preserved and collected from the hostile fire incident scene was visually documented and
inspected. I was not in attendance at this inspection. This inspection was commenced pursuant to
a written inspection protocol developed and written by Berkeley Engineering and Research, Inc.


The methodology for this continued inspection included the following:


   • “Visual inspection.

   •   X-Ray may be used to determine if any items of interest are obstructed from visual
       inspection. If so, a removal/extraction method will be discussed and agreed upon that will




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       allow visual inspection of the item(s).

   •   If there is interest in selecting individual battery cells for CT scan, removal/extraction of
       these cells will be discussed and agreed upon. Any removed cells will be sent out for CT
       scanning after the inspection is completed.”


On or about March 16, 2024, I read and reviewed the transcripts of the discovery depositions of
the plaintiffs, Matthew Wadsworth and Stephanie Wadsworth.


On or about June 1, 2024, I read and reviewed the transcript of the discovery deposition of the
plaintiffs’ juvenile daughter, Kamille Wadsworth. During that review, I noted the following data
and information:

   • That she only used the charger that came with the artifact Jetson hoverboard.

   • That she believes that she was the last person to ride the artifact Jetson hoverboard and did
     so the day before the fire in the bedroom of her brothers, Gunner Wadsworth and Layne
     Wadsworth.

   • That she rode the artifact Jetson hoverboard until “it died” and then plugged it in to recharge
     it behind her brothers’ bedroom door.

   • That she does not believe that her brothers, Gunner Wadsworth and Layne Wadsworth,
     rode the artifact Jetson hoverboard after that.

   • That she last rode the artifact Jetson hoverboard around bedtime.

   • That she was awoken by the “fire alarms.”

   • That she sleeps in “Bedroom 3.”


   • That she got up and went to the living room where her brothers, Gunner Wadsworth and
     Layne Wadsworth, were yelling.




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• That Gunner Wadsworth was in the process of attempting to wake their mother up.


• That she then helped him wake her up.


• That she doesn’t recall smoke in the hallways but did observe a glow of the fire on the
  paneling through the door in her brother’s bedroom.

• That she observed the wall of her brother’s bedroom and their bed on fire.


• That she and her brothers, Gunner Wadsworth and Layne Wadsworth, left the house
  through the door that goes from the kitchen to the garage.

• That her mother attempted to open the front door and told them there was too much heat.


• That her mother then left them to go rescue Weston.

• That she and her brothers, Gunner Wadsworth and Layne Wadsworth, left the house
  because the smoke was too bad.


• That when she got outside, she observed that the yellow shed was in the process of melting.

• That one of the reasons that she couldn’t see outside is because the curtains were closed.


• That she heard a loud bang at one point.

• That when she got outside, she was able to see the shape of the shed.

• That the roof and overhang over the window were not on fire.

• That no other portions of the outside of the house were on fire.




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   • That she heard the bang sound right before she left the house.


On or about June 1, 2024, I also read and reviewed the transcript of the discovery deposition of
the plaintiffs’ juvenile son, Layne Wadsworth. During that review, I noted the following data and
information:

   • That he rode the artifact Jetson hoverboard the day before the fire with sister, Kamille
       Wadsworth and his brother Gunner Wadsworth in his room.

   • That was the first time he had ridden it.


   • That he usually goes to bed at 8:00 PM.


   • That he woke up when his brother, Gunner Wadsworth, got up to go to the bathroom and
       banged the door against the wall.


   • That his brother, Gunner Wadsworth, tried closing the bedroom door when he came back
       from going to the bathroom, but it bounced back open against the wall.

   • That he next woke up from the window breaking.


   • That he was sleeping on the lower bunk bed.


   • That he got up and went to the living room to wake up his mother.


   • That he also saw fire at the artifact Jetson hoverboard, the carpeting along the wall from
       the hoverboard to the bedroom closet and inside the bedroom closet.


   • That the artifact Jetson hoverboard was behind the door.


   • That he also saw a little bit of fire seeping out from where the window was underneath the
       top bunk bed.




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   • That when he got outside, he observed fire on the front porch and the wall area by his
       bedroom.


   • That he could not see the yellow shed – it was gone.


   • That no part of his body was on fire.


   • That no part of his blanket or comforter was on fire – other than a spark that landed on the
       blanket he was carrying.

   • That when he got outside, the shed was melting and there was glass on top of it.


   • That when he woke up, he heard the smoke alarms.


   • That he heard a loud bang from in the hallway when they were in the kitchen.


On or about June 1, 2024, I also read and reviewed the transcript of the discovery deposition of
the plaintiffs’ juvenile son, Gunner Wadsworth. During that review, I noted the following data and
information:

   •   That he remembers using the artifact Jetson hoverboard all day the day before the fire,
       plugging it in and then using it again before getting ready for bed.

   •   That he used the artifact Jetson hoverboard in his bedroom.


   •   That he and his brother, Layne Wadsworth, took turns with it.

   •   That his sister, Kamille Wadsworth, was using the artifact Jetson Hoverboard as well.


   •   That that he was using the artifact Jetson Hoverboard in the morning and daylight and mid-
       afternoon, but not once it turned dark.




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•   That he and all his siblings went to bed at around the same time – 8:00 PM to 8:30ish PM.


•   That when they were done using it, they would place it by the bedroom door – “like in the
    crack of the door.

•   That he woke up once before the fire to use the bathroom while Layne was still sleeping.


•   That when he got back to the bedroom, he fell back asleep on the top bunk bed.

•   That there were curtains on the bedroom window which are typically open during the night
    – they open from the middle.


•   That after going to back to sleep after using the bathroom, he was awoken by his brother,
    Layne Wadsworth, yelling at him.

•   That he first saw fire by the window and then saw flames “licking up” from underneath
    the bedroom door near where the artifact Jetson hoverboard was located.


•   That his brother, Layne Wadsworth, was already in the hallway with the bedroom door
    opened when he woke up to his brother's yelling.

•   That he remembers when waking up that there were two shards of glass in his bed.


•   That he felt heat on his back.

•   That he heard a bang “slightly” after standing up from a chair getting ready to leave the
    kitchen.


•   That when he got outside, he observed just outside the top of the bedroom window – the
    top of the shed was on fire.

•   That he saw the porch by the front door on fire.




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•   That he saw a stump by the shed was also on fire.

•   That the smoke alarms were going off when he first woke up.

•   That when he left his bedroom, the fire was following along the wall and coming out from
    underneath the bedroom door.


•   That he did not see the shed on fire through the bedroom window when he woke up.

•   That when he woke up, there was fire on his bedding more so than the window.


•   That other types of batteries were kept in the same corner as the artifact Jetson hoverboard.

•   That the bedroom door bounced back open when he tried to close it after coming back from
    using the bathroom.


•   That there was a crack between the bedroom door and the artifact Jetson hoverboard.

•   That the bedroom door wasn’t touching the artifact Jetson hoverboard when he got back
    from the bathroom – it was a “little bit” away.


•   That the fire he saw and felt on his back was inside the house – not outside.

•   That he saw flames that were coming out from underneath the bedroom door.


•   That he saw fire on the top of the shed – melting down.

•   That the porch he saw on fire is the same porch that they have now.


•   That he did not observe the wall of the house on fire.




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On or about July 10, 2024, I compiled all the relevant documents and imagery and created an
electronic case file. I subsequently read and reviewed all the compiled contents of that electronic
case file.


As a continuing part of my forensic investigation and analysis, I have reviewed an extensive
compilation of relevant case file materials and discovery materials generated and compiled during
the course of the continuing civil litigation to date. Collectively, those relevant case file and
discovery materials included the following:


        •    Compilation of news media coverage of the hostile fire incident.

        •    Compilation of information on insurance company’s retained expert.

        •    Compilation of Green River, Wyoming Buildings and Building Regulations and Fire
             Prevention and Protection codes.

        •    Compilation of hostile fire incident scene joint inspection protocols.

        •    Compilation of hostile fire incident scene inspection attendance

        •    Web-based user manual for Jetson Illuminated Hoverboard – Models JPLSM-BLK and
             JPLSM-IRS.

        •    Web-based catalog page images for Plasma Luminous All-Terrain Hoverboard.


        •    BEAR Proposed Inspection Protocol for Wadsworth Hoverboard.

        •    Compilation of x-ray images of the subject Jetson hoverboard.

        •    Sweetwater County Sheriff’s Department Incident Report for Incident #S22-01535.

        •    Compilation of Sweetwater County Sheriff’s Department dash cam images.




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   •   Compilation of Sweetwater County Sheriff’s Department body cam images.

   •   Compilation of Sweetwater County                Sheriff’s       Department’s   photographs
       (DSC_001.JPG – DSC_0191.JPG).

   •   Compilation of Sweetwater County Sheriff’s Department’s Wadsworth family
       interview audio recordings.



   •   Compilation of Sweetwater County Sheriff’s Department’s Wadsworth family
       interview video recordings.


   •   Compilation of Sweetwater County Sheriff’s Department’s Ryan Pasborg interview
       video recording.


   •   Sweetwater County Sheriff’s Department’s Wadsworth family Christmas 2021
       photograph.


   •   Sweetwater County Sheriff’s Department’s Jetson Plasma Iridescent Hoverboard
       online information image.


   •   Compilation of Google Earth images of the hostile fire incident location.

   •   Compilation of diagrams of the hostile fire incident scene.

   •   Matterport data file link to the hostile fire incident scene.

   •   Compilation of Matterport “doll house” images of the hostile fire incident scene

   •   Compilation of Matterport photograph mosaics of the hostile fire incident scene.

   •   Compilation of Matterport generated floorplans.




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       •   Compilation of incident scene photographs taken by Austin Birdsong.

       •   Compilation of structural notes compiled by Austin Birdsong.

       •   Catalog image of Comfort Zone Electric Shop Heater, CZ250, Black.

       •   Photograph of Walmart receipt dated 12/12/21 – including “JETSON PLAS
           081199103159 128.00 X” and 2YR SVC PLAN 084375518445 15.00 N”.


       •   Sweetwater County Sheriff’s Department’s Realtor.com photograph of the bedroom
           hallway.

       •   Transcript of the discovery deposition of Ryan Pasborg – Passerby

       •   Transcript of the discovery deposition of Jeff Sheaman – Sheriff’s Detective

       •   Transcript of the discovery deposition and exhibits of Matthew Wadsworth – Plaintiff

       •   Transcript of the discovery deposition and exhibits of Stephanie Wadsworth – Plaintiff

       •   Transcript of the discovery deposition of Gunner Wadsworth – Juvenile Son

       •   Transcript of the discovery deposition of Layne Wadsworth – Juvenile Son

       •   Transcript of the discovery deposition of Kamille Wadsworth – Juvenile Daughter

       •   Transcript of the discovery deposition and exhibits of Sam Husain – Corporate
           Representative of Jetson Electric Bikes.

       •   Transcript of the discovery deposition and exhibits of Coryn Kremers – Corporate
           Representative of Walmart.



All of the aforementioned case file and discovery materials are maintained at the offices of M.J.




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Schulz & Associates, Inc. for the above captioned matter and should be considered a part hereof.



As another part of my investigation and analysis, I also obtained relevant data and information

from another consulting expert, Dr. Rondinone of Berkeley Engineering and Research, Inc, who

was also retained by the aforementioned client. His role focused of the detailed inspection and

analysis of the artifact Jetson hoverboard and particularly its lithium ion battery source.



The forensic investigation and analysis continue at the request of the aforementioned client.


Findings and Conclusions

As a result of the forensic investigation and analysis, I was able to come to certain findings and
conclusions. Those findings and conclusions focus on the evaluation of the initiation of the hostile
fire incident, the evaluation of the nature of the hostile fire incident, the evaluation of the origin of
the hostile fire incident, the evaluation of the first fuel ignited in the hostile fire incident, the
evaluation of the ignition sequence (cause) of the hostile fire incident, the evaluation of the
classification of the cause of the hostile fire incident, the evaluation of the development and
propagation of the hostile fire incident, the evaluation of the effects of the hostile fire incident on
the victims, and the responsibility for the occurrence of the hostile fire incident and its adverse and
undesired consequences relative to personal injuries and property damage.


Initiation of the Hostile Fire Incident

As defined earlier in this report of forensic investigation and analysis, a fire is defined as a rapid
oxidation process, which is an exothermic chemical reaction, resulting in the evolution of light and
heat in varying intensities. Closely related and previously defined, combustion is a chemical
process of oxidation that occurs at a rate fast enough to produce heat and usually light in the form




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of either a glow or flame. This combustion process can be simply characterized and graphically
considered with a discussion of the fire triangle and fire tetrahedron.


The fire triangle visualization is founded on the principle that three (3) elements must be present
and in a proper relationship with one another before the combustion process can initiate. These
three (3) elements include a fuel source, an oxidizing agent, and a competent source of heat energy.
Stated differently, a fire (combustion) cannot occur unless a fuel source is ignited by a competent
source of ignition (heat energy) contemporaneous with a sufficient quantity or concentration of
oxygen (air).




                         Figure: Graphic Depiction of the Fire Triangle


A fuel is defined as any material that yields heat energy through the combustion process. In other
words, a fuel is anything that can undergo combustion. Fuels most commonly encountered are
comprised of chemistries including carbon, hydrogen and oxygen and are, therefore, organic in
nature. Fuels can normally initially exist in any of the three (3) states or phases of matter, namely,
solid, liquid or gas.


An oxidizing agent is defined as any material that yields oxygen during a chemical reaction. Most




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often, the source of this oxygen is from ambient air (atmospheric) which normally contains
approximately twenty-one (21%) percent oxygen. A concentration of greater than one percent
(1%) oxygen is generally all that is necessary for combustion to occur. Stated differently,
combustion can continue to occur with oxygen concentrations approaching as little as one percent
(1%) under certain circumstances. Flaming combustion is generally accepted to occur above the
range of fifteen (15%) to sixteen (16%) percent oxygen.


Heat is defined as a form of energy characterized by the vibration of molecules and capable of
initiating and supporting chemical changes and changes of state. In the combustion process, this
heat energy usually causes the chemical decomposition of a combustible material (pyrolysis)
yielding combustible or flammable fuel vapors. The same heat energy, then, generally raises those
vapors above their ignition temperature resulting in their ignition.


Besides their mere contemporaneous presence, the aforementioned three (3) elements must be in
a proper relationship with one another. Most important, the fuel vapors must intermix with oxygen
in proportional quantities and/or concentrations such that combustible mixtures or flammable
mixtures are formed.


The fire tetrahedron visualization adds a fourth element which must occur in order for the
combustion process to continue after its initiation. This element is termed the uninhibited chemical
chain reaction.


The uninhibited chemical chain reaction is defined as the continuing occurrence of chemical
reactions because of the initiation of the combustion process. The continuing and uninhibited
chemical chain reaction only occurs when heat energy produced by the initial combustion reaction
(initiation of the fire) is transferred back to the fuel source. This transfer of heat energy results in
additional pyrolysis of the fuel source and, therefore, additional fuel vapors to be consumed in the
continuing combustion process.




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Once the uninhibited chemical chain reaction begins, the original source of heat energy no longer
needs to be present. Combustion continues until extinguished.




                        Figure: Graphic Depiction of the Fire Tetrahedron


An illustrative example of this element would include the placement of a lighted match at the
corner of a piece of paper. The heat energy from the flame of the match quickly pyrolyzes the
piece of paper producing combustible or flammable fuel vapors. These fuel vapors are, in turn,
ignited by the flame of the match. The new and additional heat energy yielded by the combustion
of the fuel vapors is transferred back to the piece of paper initiating and repeating the same
chemical reaction. The series of uninhibited chemical chain reactions continue, and the piece of
paper burns even if the flame of the match is removed.


It should be obvious that in order for a hostile fire incident to occur there must first be an ignition
of an initial or first fuel. Ignition can be simply defined as the process of initiating self- sustained
combustion. Following ignition, the hostile fire incident may self-extinguish, or it may grow and
become a threat to life and property. This forensic investigation and analysis was clearly of a
hostile fire incident, that has done the latter.


After its ignition, then, the hostile fire incident continued to grow and spread beyond the point of




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ignition. This flame spread can actually be thought of as a series of piloted ignitions and the self-
sustained combustion continued to propagate to and involve secondary fuel sources.


This growth will result in a transition to established burning. Established burning is generally
defined as a fire, which has a ten (10) inch flame and/or is producing twenty (20) kW. More simply
stated, established burning results in a hostile fire incident which will generally not go out on its
own unless suppression is initiated. The hostile fire incident is now said to be in the free-burning
stage. In this stage, the fire will continue to grow as long as there is sufficient ventilation and
additional fuel is available.


The occurrence of this hostile fire incident was determined to be a direct result of such an initiation
of the combustion process. A more specific discussion of the initiation of that combustion process
and its development and propagation is included within this report of forensic investigation and
analysis.


The forensic investigation and analysis continue consistent with the scientific method.


Nature of the Hostile Fire Incident

The nature of this hostile fire incident was the undesired and adverse failure of lithium-ion battery
cells in a Jetson branded Plasma Illuminated (Iridescent) Hoverboard marketed and imported by
Jetson Electric Bikes LLC., 86 34th Street, 4th Floor, Brooklyn, NY 11232 and sold by Walmart,
Inc. at its retail store located at 201 Gateway Boulevard, Rock Springs, WY 82901 on 12/12/21.
The model number of the involved hoverboard is JPLSM-IRS. The identifier on the Walmart cash
register receipt is 081199103159.


The forensic investigation and analysis continue consistent with the scientific method.




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Origin of the Hostile Fire Incident

In order to facilitate an accurate evaluation of the first fuel ignited in the hostile fire incident, the
ignition sequence (cause) of a hostile fire incident, the development, progression, propagation and
fire flow path of a hostile fire incident, the consequences of a hostile fire incident or the
responsibility for the occurrence of a hostile fire incident, it is necessary to first evaluate and
determine its origin.


The accurate determination of the origin of any hostile fire incident, then, is based primarily upon
the analysis of the fire effects and fire patterns present within the hostile fire incident scene, or in
this case. This analysis is predicated on a thorough understanding of fire dynamics and fire
behavior, as well as a practical understanding of fire effects and fire patterns.


Fire effects are defined as the observable or measurable changes in or on a material as the result
of a fire. An understanding of fire effects allows me to recognize fire patterns. Fire patterns are
defined as the visible or measurable physical changes, or identifiable shapes, formed by a fire
effect or group of fire effects.


Fire patterns can be generally characterized as one of three (3) types, namely, movement fire
patterns, intensity fire patterns and combination fire patterns. Movement fire patterns are those
that generally provide physical evidence as to the origin, direction of travel and movement of the
by-products of combustion. Intensity fire patterns are those that generally provide physical
evidence as to the severity of the physical effects of the by-products of combustion on materials.
And lastly, combination fire patterns are those that generally provide physical evidence as to both.


Fire patterns are actually the physical manifestations of the origination, development, and
progression of a fire plume. The development of a fire plume occurs in three definable phases.
These phases include the triangular phase, the columnar phase, and the conical phase.




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In the triangular phase of development, the fire plume is primarily influenced by the flame zone
located at its base within the interface with the fuel. Fire patterns generated during this phase are
similarly defined by the flame zone.


In the columnar phase of development, the fire plume is influenced by both the flame zone and the
thermal column that forms directly above the flame zone. The formation of the thermal column
above the flame zone is directly influenced by the super-heating of the by-products of combustion,
the atmospheric pressure differentials between the developing fire plume and the environment
around it, the entrainment of cooler air by the fire plume from the environment around it, and
gravity.


In the conical phase of development, the fire plume continues to be influenced by the flame zone
and the thermal column, as well as its response to factors and circumstances that tend to restrict its
free development. Such factors and circumstances include, but are not limited to, physical
compartmentation, obstructions, and atmospheric pressure. A fire plume is said to have matured
when it reaches the conical phase of development.


The prominence in which visible manifestations of the three phases remain following the
extinction and/or extinguishment of in a hostile fire incident is dependent upon a number of
different variables. These variables are generally related to the extent of the confinement of the
developing fire plume.


The recognition, identification and interpretation of these fire patterns are accomplished through
an analytical process termed heat and flame vector analysis. The performance of a heat and flame
vector analysis is an accurate methodology through which the origin of a hostile fire incident can
be determined.


This analytical process continued throughout the forensic investigation and analysis but was most
prominent while determining the room of origin of the hostile fire incident within the involved




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residential structure, while determining the origin within that room of origin, and during the
process of evaluating competing hypotheses regarding same.


In addition to the forensic investigation and analysis of the physical evidence in a hostile fire
incident scene achieved through the performance of a heat and flame vector analysis, the
determination of the origin of a hostile fire incident may also include the analysis of information
and data obtained from other sources including, but not limited to, the following:


   •   The observations of witnesses to the initiation, development, propagation, and
       consequences of the hostile fire incident.


   •   The application and analysis of arc mapping, when applicable or possible.


   •   The evaluation of fire dynamics including explosion dynamics, fire development and fire
       plume progression and development.


The forensic investigation and analysis determined that the origin of the hostile fire incident was
located on the west wall of the bedroom located on the north side of the bedroom hallway
immediately adjacent to or behind the kitchen.


This determination is clearly supported by the careful and systematic evaluation and analysis of
the following:


   • The observations of the witness who was first to discover and arrive at the hostile fire
       incident scene.

   • The observations of the occupants present within the scene of the hostile fire incident scene.


   •   The analysis of the fire effects which manifested within the hostile fire incident scene.




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                                            Rocking Horse
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  1             ) I I ^Hover Board                                                          I




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            A   RC Truck               Potable Tablet

  1 EH                    L_ Night Stand
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                       Bedroom #04 T
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        T              Toy Chest
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                  V     Bunk Bed



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                          Diagram: Room of
                          Diagram: Room of origin.
                                           origin.




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    •   The analysis of the fire patterns which manifested within the hostile fire incident scene.

    •   The analysis of the distribution of thermal damage present within the hostile fire incident
        scene.

    • The analysis and evaluation of the fuel load (s) present within the scene of the hostile fire
      incident.

    •   The evaluation of the potential sources of ignition that were present within the scene of the
        hostile fire incident.

In the simplest of terms, the accurate determination of the origin of a hostile fire incident requires
the careful consideration of the following requisite elements:


    •   The presence of sufficient ventilation - air or oxygen.

    •   The presence of a competent fuel source.

    •   The presence of a competent source of ignition.


The forensic investigation and analysis continue consistent with the scientific method.



First Fuel Ignited in the Hostile Fire Incident

The first fuel ignited in any hostile fire and explosion incident is necessarily located within its area
of origin where that first fuel ignited comes in contact with a competent source of ignition (heat
energy) contemporaneous with a sufficient amount of air or oxygen. The accurate determination
of the hostile fire incident’s origin identifies the location of the first fuel ignited.


The first fuel ignited in this hostile fire incident was determined to be the electrolyte in the first
failed lithium ion battery cell. Secondary fuels included other available combustibles.




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The forensic investigation and analysis continue consistent with the scientific method.



Ignition Sequence (Cause) of the Hostile Fire Incident

The evaluation of the ignition sequence (cause) of any hostile fire incident includes the
identification of the first fuel ignited; the identification of a competent source of ignition for that
fuel; and the analysis of how the first fuel ignited and the competent source of heat energy came
together contemporaneous with a sufficient quantity or concentration of oxygen (air).


The ignition sequence (cause) of this hostile fire incident was determined to be the ignition of the
available combustibles from an exothermic failure of a lithium-ion battery assembly in the artifact
Jetson hoverboard located within the area of origin of the hostile fire incident and the adverse and
uncontrolled transfer of heat energy from same.


A competent source of ignition is one that has the following properties:

   •   Sufficient temperature relative to the first fuel ignited.

   •   Sufficient heat energy relative to the first fuel ignited.

   •   Sufficient duration relative to its exposure to the first fuel ignited.

   •   Ability to transmit its heat energy to the first fuel ignited.


The forensic investigation and analysis continue consistent with the scientific method.



Classification of Cause of the Hostile Fire Incident


The cause of any hostile fire incident can be defined as the circumstances, conditions or agencies
that bring together a competent fuel source, a competent source of ignition for that fuel source and




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a sufficient concentration of air or oxygen resulting in a fire/explosion incident. The interaction or
sequence of events that bring together these three (3) elements is termed its ignition sequence and
was discussed previously in this report of investigation and analysis. Hostile fire incidents are
classified as natural, accidental, incendiary, or undetermined.


Natural causes are those that occur without direct human intervention or action, such as hostile fire
incidents resulting from lightning, earthquake, wind, and flood.


Accidental causes are those that occur without an intentional human act that was intended to ignite
or promote the spread of a hostile fire incident to an area where it should not be.


Incendiary causes are those that occur with a deliberate act with the intent to cause a hostile fire to
occur in an area where the fire or explosion should not be.


And lastly, undetermined causes are those that cannot be accurately classified as either natural,
accidental, or incendiary because the cause cannot be proven to an acceptable level of certainty.
As a result of the investigation and analysis, the investigating expert determined that the
classification of the cause of this hostile fire incident was properly classified as accidental, in that
it was not intentionally set.


It is important to note, that most hostile fire incidents that are appropriately classified as accidental
are preventable and the occurrence of this hostile fire incident is no exception.


The forensic investigation and analysis continue consistent with the scientific method.



Development, Progression, Propagation of the Hostile Fire Incident


During and following the initiation of this hostile fire/explosion incident, it developed and




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propagated through the transfer of heat energy by through each of the heat energy transfer methods
- conduction, convection, and radiation. The cumulative transfer of heat energy would have
eventually resulted in flame temperatures (luminescent gas) exceeding 2500 degrees Fahrenheit.


As a comparison, hot water in excess of only 120 degrees Fahrenheit will immediately begin to
scald human skin tissue resulting in significant burn injuries.


Conduction is defined as the transfer of heat energy through a solid medium. An illustrative
example of conduction would be the transfer of heat energy through a metallic pot or pan on an
operating stove through the metal base to its handle. In this instance, the heat energy is passed
from molecule to molecule. The occurrence of conduction results in the handle being hot.


While conduction is normally not the primary method of heat energy transfer in most hostile
explosion incidents, its presence should not be discounted.




                    Graphic: Conduction as a method of heat energy transfer.


Convection is defined as the transfer of heat energy through a circulating medium such as a liquid
or gas. An illustrative example of convection through a liquid would be the transfer of heat energy
through the water of a filled bathtub. The occurrence of convection through a liquid results in the




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water in the filled bathtub being uniformly heated.


An illustrative example of convection through a gas would be the transfer of heat energy by a
forced air furnace. The occurrence of convection through a gas is the operational principle upon
which the forced air furnace operates and heats a building.


In many hostile explosion incidents, the transfer of heat energy through convection is a dominant
mechanism for its progression and development. This observation, however, clearly does not
minimize the effectiveness and efficiency of the other heat transfer mechanisms in a hostile
explosion incident.




                      Graphic: Convection as a method of heat energy transfer.


Radiation is defined as the transfer of heat energy through electromagnetic waves. An illustrative
example of radiation is the sun. The sun heats the surface of the earth through radiation.




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                     Graphic: Radiation as a method of heat energy transfer.


The transfer of heat energy through these three methods begins to occur upon the ignition of the
first fuel ignited. Thereafter, the continuing chain reaction, graphically represented earlier by the
fire tetrahedron, results in the fire’s propagation to secondary fuel sources.


In addition to the heat energy, the combustion process results in the production of a wide variety
of matter and species known collectively as by-products of combustion. These by-products of
combustion include, but are not limited to, solid particulates which constitute the visible smoke,
tarry aerosols, water droplets, super-heated air, super-heated gases, and combustion gases. The
latter, combustion gases, varies greatly depending upon the type(s) and nature(s) of the fuel
source(s) involved in the combustion process.


The forensic investigation and analysis continue consistent with the scientific method.




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Responsibility for the Occurrence of the Hostile Fire Incident

Besides the evaluation of a hostile fire incident’s origin and ignition sequence (cause), forensic
fire investigation and analysis also evaluates the responsibility for its occurrence.


Certainly, the plaintiffs in this civil litigation had no control over the design and control of the
artifact Jetson hoverboard. In addition, there is no evidence that the plaintiffs used the artifact
Jetson hoverboard for any purpose other than was reasonably intended. And lastly, there is no
evidence that the plaintiffs misused the artifact Jetson hoverboard – neither intentionally nor
otherwise.


A safety hazard can be defined as a condition that presents or exposes the end user (s) of a product
to an unreasonable risk of serious injury, death or property damage when the product is utilized
for its intended or reasonably foreseeable purposes and under circumstances and conditions that
were reasonably foreseeable.


A fire/explosion safety hazard, then, can be more specifically defined as any condition that presents
or exposes the end user (s) of a product to an unreasonable risk of serious injury, death or property
damage as a direct consequence of the occurrence of a hostile fire/explosion incident.


Viewed through the lens of fire safety, the forensic investigation and analysis, including the work
of other the consulting expert, determined that the responsibility for the occurrence of the hostile
fire incident and its adverse consequences rests with those entities which placed the artifact Jetson
hoverboard into the stream of commerce – both the manufacturer and the retailer of same.


Evaluation of Potential Competing Hypotheses

As part of the process of applying the scientific method, the intellectual standards of critical
thinking, the process of the analysis of potential competing hypotheses and the generally




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recognized and accepted practices and methodologies of the fire and explosion investigation and
analysis profession, different and competing hypotheses relative to the origin and ignition
sequence (cause) of the hostile fire incident were considered and evaluated.


In the end, only the hypotheses stated herein proved to be plausible given the careful and thorough
scrutiny through the application of the aforementioned investigative and analytical methodologies,
its comparison to the physical evidence, its consideration relative to reported witness observations,
its evaluation with respect to fire dynamics and its evaluation with respect to the work of the other
consulting expert.

To the contrary, the remaining potential competing hypotheses, when objectively evaluated and
considered against the totality of all of the available data and information were found to be
implausible.


The forensic investigation and analysis continue consistent with the scientific method.


Testing of the Final Hypotheses

Consistent with the generally recognized and accepted practices and methodologies of the fire and
explosion investigation and analysis profession, all the hypotheses expressed in this report of the
forensic investigation and analysis were tested using the following methods:


   • Use of the scientific method.

   • Use of analytical thinking models.

   • Use of deductive reasoning.

   • Use of scientific literature.

   • Comparison to principles of science




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   • Use of cognitive experiments.



Certainty of Opinions

As aforementioned, unless otherwise stated, each finding and conclusion listed herein was reached
and is expressed with a reasonable degree of certainty within the field of fire and explosion
investigation and analysis. This level of certainty is only attainable through the application of the
scientific method, the intellectual standards of critical thinking, the analysis of competing
hypotheses, the guidelines of the National Fire Code NFPA 921and the guidelines of the National
Fire Code NFPA 1033 as was previously affirmed.


Status of the Forensic Investigation and Analysis

This report of the forensic investigation and analysis is submitted based upon the status of the
forensic investigation and analysis as of the date of its issuance.


As indicated earlier, the forensic investigation and analysis was conducted utilizing the scientific
method, intellectual standards of critical thinking and the process of the analysis of potential
competing hypotheses. As such, should new or additional information or data be received
following the issuance of this report of investigation and analysis, such information and data will
be appropriately considered and evaluated.


Should such consideration and evaluation significantly impact the findings and conclusions
expressed herein, it may become necessary to issue additional supplemental reports of the forensic
investigation and analysis. In that event, the reader is cautioned to consider the contents of all such
reports collectively.


As such, the information contained within this report of the forensic investigation and analysis




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relative to any and all investigative activities and analyses should only be considered to be current
as of the date of its issuance.


Supplements to the Report of the Forensic Investigation and Analysis

The following supplements are attached to this report of investigation and analysis and should be
considered a part hereof:

    •   Current Curriculum Vitae of Fire and Explosion Analyst, Fire and Safety Engineering
        Technologist, Michael Schulz, M.S.

    •   Current Rate Schedule of M.J. Schulz & Associates, Inc.

    •   Testimony listing of Michael Schulz, M.S.



Distribution of the Report of the Forensic Investigation and Analysis

This report of the forensic investigation and analysis was prepared at the request of the
aforementioned client and was intended for the client's exclusive use. As such, any additional
distribution and/or reproduction of same should be done so only with the aforementioned client's
express or mutually agreed permission.


Should the possession of this report of the forensic investigation and analysis occur without such
permission, it should be immediately forwarded to the aforementioned client and/or M.J. Schulz
& Associates, Inc. at 915 Highland Pointe Drive, Suite 250, Roseville, California 95678.


Respectfully submitted,


M.J. Schulz & Associates, Inc.




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Michael J. Schulz, M.S.
Fire and Explosion Analyst
Fire and Safety Engineering Technologist
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